         Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 1 of 115 PageID #: 8



                                                                           012345ÿ783ÿ921ÿ ÿ0114ÿ012345ÿ158
ÿÿÿÿÿÿÿÿÿ!"ÿÿÿÿÿÿÿ# $ÿÿÿÿÿÿÿ%&''ÿ(ÿÿÿÿÿÿ)*'        +32,1-. /40441 ÿÿ&"&11ÿ23%#456%57(8
ÿ                      9:99;%%<=>??ÿ;ÿ@53A#B87Cÿ%7563Dÿ(@38@ÿEÿ3@D5A8@ÿ@4D38@4 ÿ
                                                             3@C(74@ÿF5;%4C5G
ÿÿÿ!E ÿg/1ÿb/1t13
%ÿH *ÿ'&ÿ!ÿ&ÿ% ÿÿ                     C&*'ÿ6'ÿ5'*JK141,/,L 6$Mÿ8$'&J
%ÿH *ÿ'&ÿ7 $&ÿ'&ÿC 'ÿ6&I '                                                         0ÿN,3/1
                                                                        0 41,/,L
                                                            ÿ
 :9O<=O9<9: ÿ%&*$&*'&ÿC *P                                                                              ÿ
               ÿK84.Q1,ÿRKÿSÿTUS099SUVUWUXÿ013Y1ÿZ8ÿSÿR[ZN+\[ÿ[0ZR\[0]ÿR[0^_0[9Nÿ9\-0[`Xÿ013Y13ÿS
                Xÿ013Y1ÿK21ÿSÿUaS[\bSTUXÿ013Y1ÿZ/Q1ÿSÿUcdeccXÿ013Y/41ÿZf1ÿSÿ0513/77ÿK1f23Q1,Xÿ_128,
                K143/f/8,ÿSÿ013Y1
                                                            ÿ
 :9O<?O9<9: ÿ!"J                                                                                        ÿ
               ÿKN-0_ZN[Zÿ\gÿ9\N_9Nÿ0[KÿR[0^_0[9N
                                                            ÿ
 ::O:=O9<9: ÿ5'*Mÿ&1ÿ4$$ * ÿ!                                                                       ÿ
               ÿN,3ÿ87ÿ0ff1232,41XÿN1438,/4ÿg//,Lÿ913/7/421ÿ87ÿ013Y/41
               ÿÿÿÿÿÿ!ÿBMJÿ0ZN-hN[ÿ9ÿhR\ZR0
                ÿÿÿÿÿ8ÿB H1ÿ81Jÿ[NR+hi\_0ÿ9_NKRZÿ^[R\[
                                                            ÿ
 ::O:<O9<9: ÿCII&ÿ3 ;%*'                                                                         ÿ
               ÿK84.Q1,ÿRKÿTUS099SUVUWUjÿ783ÿR[ZN+\[ÿ[0ZR\[0]ÿR[0^_0[9Nÿ9\-0[`
                                                            ÿ
 ::O<=O9<9: ÿ%&*$&*'&ÿC *P                                                                              ÿ
               ÿK84.Q1,ÿRKÿSÿTUS099SUdkTcXÿ013Y1ÿZ8ÿSÿR[ZN+_\[ÿ[0ZR\[0]ÿR[0^_0[9Nÿ9\-0[`Xÿ013Y13
                SÿXÿ013Y1ÿK21ÿSÿTlS\9ZSTUXÿ013Y1ÿZ/Q1ÿSÿccccccXÿ013Y/41ÿZf1ÿSÿ0513/77ÿK1f23Q1,Xÿ_128,
                K143/f/8,ÿSÿ013Y1
               ÿ*MÿD*ÿCH                                                                          ÿ
                ÿÿÿÿÿCH ÿ!&*JÿcVmUkmTcTTXÿÿlccÿ0ÿXÿÿR9h0N]ÿg_0[9R0ÿ0ZN]nN_Xÿÿ9/ÿ87ÿ0ÿ]8./
                                                            ÿ
 ::O<oO9<9: ÿ4I ÿ) 'O2&'ÿ'&ÿ2&1Mÿ!                                                                    ÿ
               ÿg/3ÿ0Q1,1ÿ-1//8,XÿNp5//ÿUXÿNp5//ÿT
               ÿÿÿÿÿÿ!ÿBMJÿq0N0ÿ+N_0_Kÿ[\r\+_\9sR
                ÿÿÿÿÿ8ÿB H1ÿ81Jÿ[NR+hi\_0ÿ9_NKRZÿ^[R\[
                                                            ÿ
 ::O<:O9<9: ÿ@&'                                                                                          ÿ
               ÿ_NqN9ZR\[ÿ\gÿ0N_bR9N
                                                            ÿ
 :<O99O9<9: ÿCII&ÿ3 ;%*'                                                                         ÿ
               ÿK84.Q1,ÿRKÿTUS099SUdkTcjÿ783ÿR[ZN+_\[ÿ[0ZR\[0]ÿR[0^_0[9Nÿ9\-0[`
               ÿ!"ÿ31&ÿCH 'ÿ!"                                                                     ÿ
               ÿÿÿÿÿÿ!ÿBMJÿq0N0ÿ+N_0_Kÿ[\r\+_\9sR
               ÿ) 'ÿ!ÿÿ%*'ÿ%'                                                                      ÿ
               ÿ-1//8,XÿNp5//ÿUXÿNp5//ÿT
          Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 2 of 115 PageID #: 9
                ÿÿÿÿÿÿ23456ÿ789ÿ ÿ  ÿ
                 ÿÿÿÿÿÿ754ÿ9ÿ ÿ ÿ
                ÿ!"6#5ÿ$%%3#56                                                                  ÿ
&'()*(+ÿ,(-'./*ÿ0)12)34                    (+5-*ÿ+/ÿ/6ÿ/7ÿ8&9(                (:(&'(;ÿ11<=><3=31
                                                                                  Electronically Filed - City of St. Louis - October 22, 2021 - 01:15 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 3 of 115 PageID #: 10
                                                               2122-CC09577
                                                                                  Electronically Filed - City of St. Louis - October 22, 2021 - 01:15 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 4 of 115 PageID #: 11
                                                                                  Electronically Filed - City of St. Louis - October 22, 2021 - 01:15 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 5 of 115 PageID #: 12
                                                                                  Electronically Filed - City of St. Louis - October 22, 2021 - 01:15 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 6 of 115 PageID #: 13
                                                                                  Electronically Filed - City of St. Louis - October 22, 2021 - 01:15 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 7 of 115 PageID #: 14
                                                                                  Electronically Filed - City of St. Louis - October 22, 2021 - 01:15 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 8 of 115 PageID #: 15
                                                                                  Electronically Filed - City of St. Louis - October 22, 2021 - 01:15 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 9 of 115 PageID #: 16
                                                                                   Electronically Filed - City of St. Louis - October 22, 2021 - 01:15 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 10 of 115 PageID #: 17
                                                                                   Electronically Filed - City of St. Louis - October 22, 2021 - 01:15 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 11 of 115 PageID #: 18
                                                                                   Electronically Filed - City of St. Louis - October 22, 2021 - 01:15 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 12 of 115 PageID #: 19
                                                                                   Electronically Filed - City of St. Louis - October 22, 2021 - 01:15 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 13 of 115 PageID #: 20
                                                               2122-CC09577
                                                                                   Electronically Filed - City of St. Louis - October 22, 2021 - 01:15 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 14 of 115 PageID #: 21
                                                                                   Electronically Filed - City of St. Louis - October 22, 2021 - 01:15 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 15 of 115 PageID #: 22
                                                                                   Electronically Filed - City of St. Louis - October 22, 2021 - 01:15 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 16 of 115 PageID #: 23
                                                                                   Electronically Filed - City of St. Louis - October 22, 2021 - 01:15 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 17 of 115 PageID #: 24
                                                                                   Electronically Filed - City of St. Louis - October 22, 2021 - 01:15 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 18 of 115 PageID #: 25
                                                               2122-CC09577
                                                                                   Electronically Filed - City of St. Louis - October 22, 2021 - 01:15 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 19 of 115 PageID #: 26
                                                                                   Electronically Filed - City of St. Louis - October 22, 2021 - 01:15 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 20 of 115 PageID #: 27
                                                                                   Electronically Filed - City of St. Louis - October 22, 2021 - 01:15 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 21 of 115 PageID #: 28
                                                                                   Electronically Filed - City of St. Louis - October 22, 2021 - 01:15 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 22 of 115 PageID #: 29
                                                                                   Electronically Filed - City of St. Louis - October 22, 2021 - 01:15 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 23 of 115 PageID #: 30
                                                                                   Electronically Filed - City of St. Louis - October 22, 2021 - 01:15 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 24 of 115 PageID #: 31
                                                                                   Electronically Filed - City of St. Louis - October 22, 2021 - 01:15 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 25 of 115 PageID #: 32
                                                                                   Electronically Filed - City of St. Louis - October 22, 2021 - 01:15 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 26 of 115 PageID #: 33
                                                                                   Electronically Filed - City of St. Louis - October 22, 2021 - 01:15 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 27 of 115 PageID #: 34
                                                                                   Electronically Filed - City of St. Louis - October 22, 2021 - 01:15 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 28 of 115 PageID #: 35
                                                                                   Electronically Filed - City of St. Louis - October 22, 2021 - 01:15 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 29 of 115 PageID #: 36
                                                                                   Electronically Filed - City of St. Louis - October 22, 2021 - 01:15 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 30 of 115 PageID #: 37
                                                                                   Electronically Filed - City of St. Louis - October 22, 2021 - 01:15 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 31 of 115 PageID #: 38
                                                                                   Electronically Filed - City of St. Louis - October 22, 2021 - 01:15 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 32 of 115 PageID #: 39
                                                                                   Electronically Filed - City of St. Louis - October 22, 2021 - 01:15 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 33 of 115 PageID #: 40
                                                                                   Electronically Filed - City of St. Louis - October 22, 2021 - 01:15 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 34 of 115 PageID #: 41
                                                                                   Electronically Filed - City of St. Louis - October 22, 2021 - 01:15 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 35 of 115 PageID #: 42
                                                                                   Electronically Filed - City of St. Louis - October 22, 2021 - 01:15 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 36 of 115 PageID #: 43
                                                                                   Electronically Filed - City of St. Louis - October 22, 2021 - 01:15 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 37 of 115 PageID #: 44
                                                                                   Electronically Filed - City of St. Louis - October 22, 2021 - 01:15 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 38 of 115 PageID #: 45
                                                                                   Electronically Filed - City of St. Louis - October 22, 2021 - 01:15 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 39 of 115 PageID #: 46
                                                                                   Electronically Filed - City of St. Louis - October 22, 2021 - 01:15 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 40 of 115 PageID #: 47
                                                                                   Electronically Filed - City of St. Louis - October 22, 2021 - 01:15 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 41 of 115 PageID #: 48
                                                                                   Electronically Filed - City of St. Louis - October 22, 2021 - 01:15 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 42 of 115 PageID #: 49
                                                                                   Electronically Filed - City of St. Louis - October 22, 2021 - 01:15 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 43 of 115 PageID #: 50
                                                                                   Electronically Filed - City of St. Louis - October 22, 2021 - 01:15 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 44 of 115 PageID #: 51
                                                                                   Electronically Filed - City of St. Louis - October 22, 2021 - 01:15 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 45 of 115 PageID #: 52
                                                                                   Electronically Filed - City of St. Louis - October 22, 2021 - 01:15 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 46 of 115 PageID #: 53
                                                                                   Electronically Filed - City of St. Louis - October 22, 2021 - 01:15 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 47 of 115 PageID #: 54
                                                                                   Electronically Filed - City of St. Louis - October 22, 2021 - 01:15 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 48 of 115 PageID #: 55
                                                                                   Electronically Filed - City of St. Louis - October 22, 2021 - 01:15 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 49 of 115 PageID #: 56
                                                                                   Electronically Filed - City of St. Louis - October 22, 2021 - 01:15 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 50 of 115 PageID #: 57
                                                                                   Electronically Filed - City of St. Louis - October 22, 2021 - 01:15 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 51 of 115 PageID #: 58
                                                                                   Electronically Filed - City of St. Louis - October 22, 2021 - 01:15 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 52 of 115 PageID #: 59
                                                                                   Electronically Filed - City of St. Louis - October 22, 2021 - 01:15 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 53 of 115 PageID #: 60
                                                                                   Electronically Filed - City of St. Louis - October 22, 2021 - 01:15 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 54 of 115 PageID #: 61
                                                                                   Electronically Filed - City of St. Louis - October 22, 2021 - 01:15 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 55 of 115 PageID #: 62
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 56 of 115 PageID #: 63
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 57 of 115 PageID #: 64
                                                                                                    Electronically Filed - City of St. Louis - November 08, 2021 - 04:23 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 58 of 115 PageID #: 65




                    IN THE CIRCUIT COURT OF THE CITY OF ST. LOUIS
                                 STATE OF MISSOURI

NEIGHBORS CREDIT UNION,                             )
                                                    )
       Plaintiff,                                   )       Case No. 2122-CC09577
                                                    )
vs.                                                 )       Division 1
                                                    )
INTEGON NATIONAL INSURANCE                          )
COMPANY,                                            )
                                                    )   JURY TRIAL DEMANDED
       Defendant.                                   )
                                                    )
Serve: Integon National Insurance Company           )
       c/o Director of Insurance                    )
       301 West High St., Suite 530                 )
       Jefferson City, MO 65101                     )


                                FIRST AMENDED PETITION

       Comes now Plaintiff Neighbors Credit Union and for its causes of action against Defendant

Integon National Insurance Company states as follows:

       1.      Plaintiff Neighbors Credit Union is a credit union organized and existing under

Missouri law with its principal place of business located in St. Louis County, Missouri.

       2,      Defendant Integon National Insurance Company is a corporation with its principal

place of business located in Winston-Salem, North Carolina.

       3.      Defendant is an insurance company authorized to conduct insurance business in the

State of Missouri and can be served with legal process upon the Missouri Department of Insurance.

       4.      This action pertains to an insurance policy issued by Defendant to Plaintiff

providing various insurance coverage pertaining in part to the real property and improvements

commonly known as 511 Withers Avenue located in the City of St. Louis, Missouri (the

“Property”).



                                                1
                                                                                                       Electronically Filed - City of St. Louis - November 08, 2021 - 04:23 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 59 of 115 PageID #: 66




       5.      This Court has jurisdiction over Defendant because it transacts insurance business

in Missouri, and this action arises out of Defendant’s making and breaching a contract of insurance

pertaining to the subject Property located in Missouri.

       6.      Venue for this action is proper in this Court pursuant to § 508.010 RSMo in that

Defendant is a not a resident of the State of Missouri and Plaintiff’s injuries were incurred in the

City of St. Louis, Missouri.

                                       General Allegations

       7.      Plaintiff became the owner of the Property on or about June 1, 2020 through a

foreclosure sale instituted against the previous owner. Plaintiff owned the Property continuously

until it was sold on August 4, 2021.

       8.      The Property consists of a land area of approximately 2.714 acres. At all times

referred to herein, the Property contained a large single story, masonry and steel constructed

building with a ground floor area of approximately 52,932 square feet plus approximately 700

square feet of office mezzanine space (hereafter collectively referred to as the “main building”).

       9.      At the time of the claims described below, more than half of the main building

space was suitable for telecommunications usage, with HVAC and other systems to control the

climate of the space for computers and related electronic equipment. The main building contained

heavy electric cooling systems, including extensive temperature control equipment and systems.

       10.     During December, 2020 and January, 2021, the Property and the main building

were unoccupied.

       11.     During December, 2020 and January, 2021, there were four separate incidents in

which one or more then unknown individuals entered the Property and main building without




                                                 2
                                                                                                        Electronically Filed - City of St. Louis - November 08, 2021 - 04:23 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 60 of 115 PageID #: 67




permission or authority. These intruders broke into the main building at one or more different

points of entry, such as breaking through or tearing down building doors.

       12.     Once inside the main building, the intruder(s), in part, broke into and exited various

Liebert HVAC (heating, ventilation and air conditioning) systems affixed to and located in and

upon the main building, gutted or damage electrical and mechanical components therein and other

electrical systems, piping and parts. The Liebert HVAC equipment and system was a highly

specialized configuration of equipment known for its precision and high-efficiency used, in part,

to provide climate control for computers or other IT devices or products. The intruder(s) also

removed copper wiring or piping within or associated with the Libert HVAC systems.

       13.     The intruder(s) broke into and exited three Dry Coolers affixed to the Property

located immediately adjacent to the main building and connected to the building by large pipes.

The Dry Coolers were an essential part of the HVAC system to maintain cooler temperatures in

the main building. The Dry Coolers and Liebert HVAC systems performed essential functions to

maintaining and operating the HVAC system for the main building.

       14.     The intruder(s) broke into bathroom fixtures in the main building, and damaged

several toilets and sinks affixed to the main building; as well as doing extensive damage to pipes,

ducts, electrical boxes and components, and other equipment, fixtures and machinery.

       15.     The intruder(s) also removed various copper piping or copper materials and a

refrigerator, including cutting a hole through a wall to remove the refrigerator from the main

building.

       16.     The intruder(s) damaged several main building doors and walls to gain access and

exit from the main building.




                                                 3
                                                                                                           Electronically Filed - City of St. Louis - November 08, 2021 - 04:23 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 61 of 115 PageID #: 68




        17.        Several photographs illustrating just some of the damage and destruction done in

and upon the building are collectively attached as Exhibit 1.

        18.        At least three separate police incident reports were submitted on behalf of Plaintiff

to the St. Louis Metropolitan Police Department regarding the damage and destruction done by

the intruder(s).

        19.        In consideration of insurance premium payments made by Plaintiff to Defendant,

at all times in December, 2020 and January, 2021 when the aforesaid four intrusions occurred,

Plaintiff was the insured party under a “Blanket Mortgage Security” insurance policy number

INM000C149 issued by Defendant that was then in full force and effect (the “Policy”). The

Insurance Policy had been procured from and issued by Defendant, and in part provided certain

insurance coverage for the “Building” located in and upon the 511 Withers Avenue Property. A

true copy of the Blanket Mortgage Security Policy Declarations for coverage under the Policy is

attached hereto as Exhibit 2 and incorporated herein by this reference.

        20.        The Policy provided more than $2,000,000 of insurance coverage with a $1,000

deductible for “vandalism and malicious mischief.”

        21.        In Section I of the “General Property Amended Form” portion of the written Policy,

captioned “Property Covered,” the Policy defined the “Property Covered” by the Policy as follows:

                                SECTION I – PROPERTY COVERED

                   The insurance under this Policy covers “Building(s)” in accordance
                   the following description(s) of coverage. This insurance does not
                   cover land. Coverage A – Building(s): Building(s) or structure(s)
                   shall include attached additions and extensions; fixtures, machinery
                   and equipment constituting a permanent part of and pertaining to
                   the service of the building; yard fixtures; personal property of the
                   mortgagor used for the maintenance or service of the described
                   building(s), including fire extinguishing apparatus, outdoor
                   furniture, floor coverings and appliances for refrigerating,
                   ventilating, cooking, dishwashing and laundering (but not

                                                     4
                                                                                                     Electronically Filed - City of St. Louis - November 08, 2021 - 04:23 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 62 of 115 PageID #: 69




               including other personal property in apartments or rooms furnished
               by the mortgagor as landlord); all while as the described
               location(s).

       22.     In Section III of the “General Property Amended Form” portion of the Policy

captioned “Perils Insured Against,” the Policy provided in part as follows:

               This Policy insures against all direct loss caused by:

                        1.      Fire….

                        2.      Lightning….

                        3.      Explosion….

                        * * * *

                        8.      Vandalism, meaning willful and malicious
                                damage to, or destruction of, the described
                                property.
                                We will not pay for loss or damage caused
                                by or resulting from theft, except for building
                                damage caused by the breaking in or exiting
                                of burglars.

                        .* * * *

                                          COUNT I
                             (BREACH OF INSURANCE CONTRACT)

       Comes now Plaintiff and for Count I of its Petition states as follows:

       23.     Plaintiff incorporates paragraphs 1 through 22 inclusive above as if fully restated

and realleged herein.

       24.     Plaintiff duly submitted claims for Policy insurance coverage for the damage and

destruction to the Property and main building, including the equipment, fixtures and machinery

constituting a permanent part of and pertaining to the service of the main building, yard fixtures

(and/or appliances for refrigeration and ventilation as referred to in the Policy) as described in

paragraphs 12-14 above.

                                                  5
                                                                                                       Electronically Filed - City of St. Louis - November 08, 2021 - 04:23 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 63 of 115 PageID #: 70




       25.     Defendant thereafter retained or engaged National General Lender Services to

administer the claim on behalf of Defendant.

       26.     Said National General Lender Services, on behalf of Defendant, thereafter

performed an incomplete, sloppy and faulty review and investigation of Plaintiff’s claims,

including constant delays, inspecting the building by its representative who was unfamiliar with

the specialized HVAC fixtures, equipment and systems damaged and destroyed, failing to respond

to communications, making multiple requests for information already provided, failing to timely

review documentation provided, and misstating or mischaracterizing Plaintiff’s claims.

       27.     Said National General Lender Service, on behalf of Defendant, in several letters

dated August 3, 2021 to Plaintiff, denied Plaintiff’s claims except for the tender of a check for

$317.21 (after application of $1,000.00 as a deductible) for damage to a steel door and plywood.

Plaintiff has not cashed that check.

       28.     In its aforesaid claim denial or partial denial letters submitted by National General

Lender Service on behalf of Defendant, Defendant based its denials on the perfunctory statements

that “theft is not covered by the policy” while disregarding the damage and destruction to the

building, including the property set forth in paragraph 24 above.

       29.     In this action, Plaintiff is not seeking reimbursement for those items of tangible

personal property stolen and removed from the Property by the burglars, i.e. copper materials, one

small refrigerator, or other items of tangible personal property physically taken off the Property

premises.

       30.     The conduct and actions of the intruder(s) in December, 2020 and January, 2021 as

described above constituted “vandalism” covered under the Policy in that the intruder(s) did willful




                                                 6
                                                                                                      Electronically Filed - City of St. Louis - November 08, 2021 - 04:23 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 64 of 115 PageID #: 71




and malicious damage to or destruction of portions of the insured Property, including the

“Building” as defined under the Policy.

       31.     The Policy provides insurance coverage to the Building and structures, which are

expressly defined to include “fixtures, machinery and equipment constituting a permanent part of

and pertaining to the service of the building; yard fixtures; personal property of the mortgagor

[Plaintiff] used for the maintenance or service of the described building(s), including fire

extinguishing apparatus … floor coverings and appliances for refrigerating, ventilations ….

       32.     The Dry Coolers, Lieber HVAC systems, electrical systems, ducts, bathroom

fixtures and other tangible property damaged or destroyed by the intruder(s) in December, 2020

and January, 2021 were parts of the “building” as defined in the Policy.

       33.     Those items identified in paragraphs 12-14 and 16 above were damaged and/or

destroyed by the intruders’ acts of vandalism as defined in the policy.

       34.     Those items identified in paragraphs 12-14 and 16 above were parts of the

“Building” as defined in the policy, and were damaged and/or destroyed by the burglar(s) in the

course of their breaking in or exiting the “Building.”

       35.     For example, the intruder(s) damaged or destroyed portions of the “Building” by

breaking into and/or exiting the Dry Coolers and Lieber HVAC systems, and in doing so damaged

in or destroyed other component parts or systems of the Dry Coolers and Liebert HVAC systems.

The intruder(s) destroyed or substantially damaged those items, as well as associated pipes, ducts,

and electrical systems.

       36.     In December, 2020 and January, 2021, and at all other relevant times, Plaintiff met

the conditions for coverage under the Policy and the Policy was in full force and effect.




                                                 7
                                                                                                           Electronically Filed - City of St. Louis - November 08, 2021 - 04:23 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 65 of 115 PageID #: 72




       37.     Prior to Defendant’s aforesaid August 3, 2021 denials of coverage for the

overwhelming portion of the damage and loss to the Building, Plaintiff had furnished

documentation to Plaintiff that the costs to repair or replace the damage to the Building was in

excess of One Million Dollars.

       38.     Defendant has failed and refused to reimburse Plaintiff for its covered losses under

the Policy, and Plaintiff is entitled to receive interest on the total amount of its loss at the rate of

nine percent (9%) per annum from and after August 3, 2021.

       39.     As a result of Defendant’s aforesaid breach of the insurance contract, Plaintiff has

been damaged by Defendant’s failure and refusal to pay for the damage and destruction done to

and upon the Building, which failure also diminished the fair market value of the Property and the

improvements thereon.

       WHEREFORE, Plaintiff Neighbors Credit Union prays for judgment against Defendant

Integon National Insurance Company on Count I for an amount that is fair and reasonable due to

Defendant’s breach of the insurance contract, for interest at the rate of nine percent (9%) per annum

from August 3, 2021, for Plaintiff’s costs incurred, and for such further relief as the Court deems

just and proper in the premises.



                                         COUNT II
                                    (VEXATIOUS REFUSAL)

               Comes now Plaintiff and for Count II of its Petition states as follows:

       40.     Plaintiff incorporates a paragraphs 1-22 and 29-39 above as if fully restated and

realleged herein.

       41.     Plaintiff duly submitted claims for Policy insurance coverage for the damage and

destruction to the Property and main building, including the equipment, fixtures and machinery

                                                   8
                                                                                                       Electronically Filed - City of St. Louis - November 08, 2021 - 04:23 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 66 of 115 PageID #: 73




constituting a permanent part of and pertaining to the service of the main building, as described

above.

         42.   Defendant thereafter retained or engaged National General Lender Services to

administer the claim on behalf of Defendant.

         43.   Said National General Lender Services, on behalf of Defendant, thereafter

performed an incomplete, sloppy and faulty review and investigation of Plaintiff’s claims,

including constant delays, failing to respond to communications, making multiple requests for

information already provided, inspecting the building by its representative who was unfamiliar

with the specialized HVAC fixtures, equipment and systems damaged and destroyed, failing to

timely review documentation provided, and misstating or mischaracterizing Plaintiff’s claims.

         44.   Said National General Lender Service, on behalf of Defendant, in several letters

dated August 3, 2021 to Plaintiff, denied Plaintiff’s claims except for the tender of a check for

$317.21 (after application of a $1,000.00 deductible) for damage to a steel door and plywood.

         45.   In its aforesaid claim denial or partial denial letters submitted by National General

Lender Service on behalf of Defendant, Defendant based its denials on the perfunctory statements

that “theft is not covered by the policy” while disregarding the damage and destruction to the

Property, including the “Building” as defined under the Policy.

         46.   Defendant’s breach of contract in denying virtually all of Plaintiff’s claims was

without reasonable cause or excuse and was vexacious so as to make Defendant liable to Plaintiff

under Missouri vexacious refusal statutes, §§ 375.296 and 375.420 RSMo. Defendant’s aforesaid

vexacious denial was also evidence by the faulty, defective and inadequate investigation of

Plaintiff’s claims leading up to the denials of coverage.




                                                 9
                                                                                                       Electronically Filed - City of St. Louis - November 08, 2021 - 04:23 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 67 of 115 PageID #: 74




        47.    As a result of Defendant’s aforesaid vexatious conduct, Plaintiff is entitled to

recover it reasonable attorney’s fees and statutory penalties of twenty percent (20%) of the first

One Thousand Five Hundred dollars of loss, and ten percent (10%) of the amount of the loss in

excess of One Thousand Five Hundred Dollars.

        WHEREFORE, Plaintiff Neighbors Credit Union prays for judgment against Defendant

Integon National Insurance Company on Count II for an amount that is fair and reasonable due to

Defendant’s breach of the insurance contract, for statutory penalties, for Plaintiff’s reasonable

attorneys’ fees, for Plaintiff’s costs incurred, and for such further relief as the Court deems just

and proper in the premises.



                                                     Respectfully submitted,

                                                     SUMMERS COMPTON WELLS LLC

                                                     /s/ James G. Nowogrocki
                                                     James G. Nowogrocki #38559

                                                     /s/ Stephen C. Hiotis
                                                     Stephen C. Hiotis, #30840

                                                     903 S. Lindbergh Blvd., Suite 200
                                                     St. Louis, Missouri 63131
                                                     (314) 991-4999 (Telephone)
                                                     (314) 991-2413 (Facsimile)
                                                     jnovogrocki@scw.law
                                                     shiotis@scw.law
                                                     Attorneys for Plaintiff




2,778,576

                                                10
                                                                                   Electronically Filed - City of St. Louis - November 08, 2021 - 04:23 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 68 of 115 PageID #: 75




                        PLAINTIFF'S EXHIBIT 1
                                                                                   Electronically Filed - City of St. Louis - November 08, 2021 - 04:23 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 69 of 115 PageID #: 76
                                                                                                      Electronically Filed - City of St. Louis - November 08, 2021 - 04:23 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 70 of 115 PageID #: 77




                                         ''
                                              11%.411:11211:111111"iiiitti
                                                                             /19.111
                                                                                —iniri

                                                                                         11I..4.1J•




                                       err.
                                                                                   Electronically Filed - City of St. Louis - November 08, 2021 - 04:23 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 71 of 115 PageID #: 78
                                                                                   Electronically Filed - City of St. Louis - November 08, 2021 - 04:23 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 72 of 115 PageID #: 79
                                                                                   Electronically Filed - City of St. Louis - November 08, 2021 - 04:23 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 73 of 115 PageID #: 80




                        PLAINTIFF'S EXHIBIT 2
                                                                                                                           Electronically Filed - City of St. Louis - November 08, 2021 - 04:23 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 74 of 115 PageID #: 81



                                   Integon National Insurance Company
                                            Winston-Salem, NC

                        BLANKET MORTGAGE SECURITY
                           POLICY DECLARATIONS
  POLICY NUMBER: INM000C149
  NAMED INSURED: Neighbors Credit Union                                     AGENT: van VVagenen Financial Services
                 6300 S Lindbergh Blvd                                             PO BOX 390831
                 Saint Louis, MO 63123                                             Minneapolis, MN 55439-0831

  LENDER NUMBER: 9447                                                       AGENT NUMBER: 991917


  POLICY PERIOD:            From 5/3/2019                             To Continuous Until Cancelled
                                            (12:01 am, Standard Time At the Address cime Insured Property)

  COVERAGE:        All Limits, Deductibles and Rates are shown on the attached Rate Schedule.

  COVERAGE
  INFORMATION: Property Insured: Coverage applies only to eligible real properties (Buildings) upon
               Which you have requested we provide coverage, for which you have paid a premium
               and in which you have an insurable interest as mortgagee or as the servicing agent by
               written agreement This insurance does not cover land.

                   Coverage Provided: All coverages, terms. and conditions for residential property are
                   set forth in this Blanket Mortgage Security Policy and the attached Dwelling Property
                   Amended Form. All coverages, terms and conditions for commercial property are set
                   forth in this Blanket Mortgage Security Policy and the attached General Property
                   Amended Form. All coverages, terms and conditions for Manufactured Homes are set
                   forth in this Blanket Mortgage Security Policy and the attached manufactured Home
                   Amended Form.

                   Maximum Amount of Insurance: The Maximum Amount of Insurance shall be the
                   lesser of the amount shown on your request for insurance reflected on the monthly
                   reports described in General Provision M. of this policy, or S please refer to the rate
                   schedule for specific values for residential property and S please refer to the rate
                   schedule for specific values for commercial property

                   Premium Rate: The premium for each insured property shall be computed by applying
                   the following rate per hundred per year to the Amount of Insurance applicable to each
                   insured property.

 TAXES AND FEES: N/A

 ENDORSEMENTS: MSP 98 01 02 13 / MSP 00 01 02 13/ MSP 00 03 02 13 / MSP 00 04 02 13 /
 MSP 03 02 02 13 / MSP 99 04 02 13 / MSP 04 01 02 13 / MSP 04 03 02 13 / MSP 04 04 02 13 /
 MSP 17 02 02 13 / IL 00 17 / IL 09 53 / MSP 09 01 02 13

                                                                                                        2'
 Date Countersigned: 7/1/2019                                 Agent ‘"--:
                                                                         Authorized Representative



 MSP 98 01 02 13                                                                                             Page 1 of 1
                                                                                                        Electronically Filed - City of St. Louis - November 08, 2021 - 04:23 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 75 of 115 PageID #: 82




                               MORTGAGE SECURITY
                                 RATE SCHEDULE

 LENDER PLACED RESIDENTIAL AND COMMERCIAL OCCUPIED/VACANT
 REO RESIDENTIAL AND COMMERCIAL OCCUPIED/VACANT

 DWELLING/BUILDING:
                              Company Limit                 Deductible         Rate
                                $5,000,000                  See below        See below


  DEDUCTIBLE:
  Residential Property        $100 / $500 VMM per occurrence all perils except Wind & Hail

  Commercial Property         S500 / $1,000 VMM per occurrence all perils except Wind & Hail


  Wind & Hail                 A deductible of $2,500 or 2% of the insured value shall apply.




 RATES: All states EXCEPT, CA, FL, IN, LA, MN, MS, NY, OK, SC, TX, WA

 Mortgage Fire:               S1.00   per S100   Residential Occupied or Vacant
                              $1.50   per S100   Commercial Occupied or Vacant
                              $0.35   per S100   Personal Contents
                              Si 40   per S100   Commercial Contents


 EXCEPTION STATE RATES:

  CA      Mortgage Fire:       S0.55 per $100 Residential Occupied or Vacant
                               $0.90 per S100 Commercial Occupied or Vacant
                               S0.25 per S100 Personal Contents
                               S1.05 per S100 Commercial Contents

  FL Terr 50 Mortgage Fire:    S0.67   per   S100   Residential Occupied or Vacant
                               S1.01   per   $100   Mobile Homes Occupied or Vacant
                               S0.35   per   $100   Personal Contents
                               S1.01   per   S100   Commercial Occupied
                               S2.01   per   $100   Commercial Vacant
                               S1.40   per   S100   Commercial Contents

 FL Terr 51 Mortgage Fire:     $1.07   per   $100   Residential Occupied or Vacant
                               S1.61   per   S100   Mobile Homes Occupied or Vacant
                               $0.35   per   S100   Personal Contents
                               S1.61   per   S100   Commercial Occupied
                               $3.21   per   $100   Commercial Vacant
                               $1.40   per   $100   Commercial Contents



                                                                                               1 of 3
                                                                                             Electronically Filed - City of St. Louis - November 08, 2021 - 04:23 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 76 of 115 PageID #: 83




 FL Terr 52 Mortgage Fire:   $0.77   per   $100   Residential Occupied or Vacant
                             S1.16   per   $100   Mobile Homes Occupied or Vacant
                             S0.35   per   $100   Personal Contents
                             $1.16   per   $100   Commercial Occupied
                             $2.31   per   $100   Commercial Vacant
                             $1.40   per   S100   Commercial Contents

 FL Terr 53 Mortgage Fire:   $0.90   per S100     Residential Occupied or Vacant
                             S1.35   per $100     Mobile Homes Occupied or Vacant
                             $0.35   per S100     Personal Contents
                             $1.35   per $100     Commercial Occupied
                             $2.70   per $100     Commercial Vacant
                             S1.40   per $100     Commercial Contents

 FL Terr 54 Mortgage Fire:   $1.32   per   S100   Residential Occupied or Vacant
                             $1.98   per   $100   Mobile Homes Occupied or Vacant
                             $0.35   per   $100   Personal Contents
                             $1.98   per   $100   Commercial Occupied
                             $3.96   per   S100   Commercial Vacant
                             $1.40   per   $100   Commercial Contents

 FL Terr 55 Mortgage Fire:   S2.60   per S100     Residential Occupied or Vacant
                             S3.90   per S100     Mobile Homes Occupied or Vacant
                             $0.35   per $100     Personal Contents
                             $3.90   per S100     Commercial Occupied
                             $7.80   per $100     Commercial Vacant
                             S1.40   per S100     Commercial Contents

 IN       Mortgage Fire:     $0.88   per $100     Residential Occupied or Vacant
                             $1.32   per S100     Commercial Occupied or Vacant
                             $0.35   per $100     Personal Contents
                             $1.40   per $100     Commercial Contents

 LA       Mortgage Fire:     $1.00   per   $100   Residential Occupied or Vacant
                             $1.50   per   $100   Commercial Occupied or Vacant
                             $0.35   per   $100   Personal Contents
                             S1.40   per   $100   Commercial Contents

 LA Terr 52 Mortgage Fire    S2.00   per   $100   Residential Occupied or Vacant
                             S3.00   per   S100   Commercial Occupied or Vacant
                             $0.35   per   $100   Personal Contents
                             $1.40   per   S100   Commercial Contents

 MN     Mortgage Fire:       S0.57   per $100     Residential Occupied or Vacant
                             S0.86   per $100     Commercial Occupied or Vacant
                             $0.35   per $100     Personal Contents
                             S1.40   per $100     Commercial Contents

 MS     Mortgage Fire:       $1.00   per $100     Residential Occupied or Vacant
                             $1.50   per $100     Commercial Occupied or Vacant
                             $0.35   per $100     Personal Contents
                             S1.40   per S100     Commercial Contents




                                                                                    2 of 3
                                                                                                         Electronically Filed - City of St. Louis - November 08, 2021 - 04:23 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 77 of 115 PageID #: 84




 MS Terr 52 Mortgage Fire         S1.36   per S100     Residential Occupied or Vacant
                                  $2.04   per 5100     Commercial Occupied or Vacant
                                  S0.35   per $100     Personal Contents
                                  $1.40   per $100     Commercial Contents

 NY        Mortgage Fire: REO     $0.91   per S100 Residential Occupied or Vacant
                 Lender Placed    $0.72   per $100 Residential Occupied or Vacant
                                  S1.55   per 5100 Commercial Occupied or Vacant
                                  $0.35   per S100 Personal Contents
                                  $1.40   per $100 Commercial Contents

 OK      Mortgage Fire:           $1.36   per S100     Residential Occupied or Vacant
                                  S1.50   per $100     Commercial Occupied or Vacant
                                  $0.35   per $100     Personal Contents
                                  $1.40   per 5100     Commercial Contents

 SC      Mortgage Fire:           S1.00   per   $100   Residential Occupied or Vacant
                                  S1.50   per   $100   Commercial Occupied or Vacant
                                  $0.35   per   $100   Personal Contents
                                  S1.40   per   S100   Commercial Contents

 SC Terr 52 Mortgage Fire.        S1.15   per $100     Residential Occupied or Vacant
                                  S1.73   per S100     Commercial Occupied or Vacant
                                  $0.35   per S100     Personal Contents
                                  S1.40   per $100     Commercial Contents

 TX      Mortgage Fire:           S1.10   per   $100   Residential Occupied or Vacant
                                  S1.65   per   $100   Commercial Occupied or Vacant
                                  S0.39   per   S100   Personal Contents
                                  S1.55   per   S100   Commercial Contents

 TX Terr 52 Mortgage Fire         $2.23   per $100     Residential Occupied or Vacant
                                  $3.35   per $100     Commercial Occupied or Vacant
                                  $0.39   per $100     Personal Contents
                                  $1.55   per S100     Commercial Contents

 WA      Mortgage Fire:           S1.10   per   $100   Residential Occupied or Vacant
                                  S1.64   per   $100   Commercial Occupied
                                  $3.29   per   $100   Commercial Vacant
                                  $0.38   per   $100   Personal Contents
                                  S1.53   per   $100   Commercial Contents




 GSE RATES:
 Residential Only:               15% Rate credit for coverage less than S100.000
                                 17% Rate credit for coverage greater than S100,000 up to and
                                 including S250,000
                                 17.5% Rate credit for coverage greater than $250,000

 GSE DEDUCTIBLE:
 Residential Only:               $1,000 per occurrence for coverage less than S100,000
                                 $2000 per occurrence for coverage more than $100,000
                                 up to and including $250,000
                                 $2,500 per occurrence for coverage greater than $250,000

                                                                                                3 of 3
                                                                                                                Electronically Filed - City of St. Louis - November 08, 2021 - 04:23 PM
    Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 78 of 115 PageID #: 85




                                MINE SUBSIDENCE ENDORSEMENT


                                       OHIO MINE SUBSIDENCE

LIMIT:            Equal to the amount of Insurance carried on the Dwelling subject to a maximum limit of
                  $300,000.00. No coverage for Land, Trees, Plants Crops, Contents, Barns, and Commercial
                  and Industrial Buildings.

RATES:            S1.00 per Year - Mandatory in the following Counties: Athens, Belmont, Carroll, Columbiana,
                  Coshocton, Gallia, Guernsey, Harrison, Hocking, Holmes, Jackson, Jefferson, Lawrence,
                  Mahoning, Meigs, Monroe, Morgan, Muskingum, Nobel, Perry, Scioto, Stark, Trumbull,
                  Tuscarawas, Vinton and Washington

                  $5.00 per Year - Optional in the following Counties: Delaware, Erie, Geauga, Lake, Licking,
                  Medina, Ottawa, Portage, Preble, Summit and Wayne

DEDUCTIBLE:       2% of the Dwelling Limit, Minimum of S250 and Maximum of $500




              ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.
                                                                                                               Electronically Filed - City of St. Louis - November 08, 2021 - 04:23 PM
    Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 79 of 115 PageID #: 86




                                      KENTUCKY MINE SUBSIDENCE

LIMIT:               Equal to the amount of Insurance carried on the Structure subject to a maximum limit if
                     $300,000.00. Mobile Homes are NOT considered Structures. No coverage for Land, Trees,
                     Plants or Crops.


MANDATORY     COUNTIES:
Bell           Boyd         Breathitt       Butler          Carter         Christian
Clay           Daviess      Edmonson        Elliott         Floyd          Greenup
Hancock        Harlan       Henderson       Hopkins         Jackson        Johnson
Knott          Knox         Laurel          Lawrence        Lee            Leslie
Letcher        McCreary     McLean          Martin          Morgan         Muhlenberg
Ohio           Owsley       Perry           Union           Webster        Whitney
                                                                           Wolfe

RATES:
         THE FOLLOWING RATES APPLY.
                       COMMONWEALTH OF KENTUCKY COAL MINE SUBSIDENCE RATES
                 Mine Subsidence                          Premium
                                             Residential        ,    Commercial
                            Up to S50.000                S10.00                                515.00
                       $50001 to S60.000                 $12.00                                S17.00
                       S60.001 to S70,000                $14.00                                519.00
                       $70,001 to $80,000                S16.00                                521.00
                       580.001 to S90.000                S18.00                                523.00
                      S90.001 to $100000                 520.00                                S25.00
                     S100,001 to S110,000                $22.00                                S27.00
                     S110,001 to 5120.000                524.00                                S29.00
                     S120,001 to S130.000                526.00                                S31.00
                     S130.001 to S140.000                $28.00                                $33.00
                     S140,001 to S150.000                530.00                                S35.00
                     5150.001 to S160.000                $32.00                                S37.00
                     S160.001 to S170.000                S34.00                                S39.00
                     5170,001 to S180.000                $36.00                                541.00
                     S180,001 to S190,000                S38 00                                S43.00
                     $190,001 to S200,000                $40.00                                $45.00
                     S200.001 to S210.000                $42.00                                547.00
                     S210,001 to S220,000                $44.00                                $49.00
                     5220.001 to 5230,000                $46.00                                S51.00
                     $230,001 to 5240,000                $48.00                                $53.00
                     S240,001 to S250,000                S50.00                                S55.00
                     $250,001 to S260.000                552 00                                557.00
                     S260.001 to 5270,000                S54 00                                $59.00
                     S270,001 to $280,000                55600                                 561.00
                     $280,001 to $290,000                $58.00                                S63.00
                     5290.001 to 5300,000                560.00                                S65.00



DEDUCTIBLE:          2% of the Dwelling Limit, Minimum of $250 and Maximum of S500




                ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED.
                                                                                                                     Electronically Filed - City of St. Louis - November 08, 2021 - 04:23 PM
    Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 80 of 115 PageID #: 87




                                      WEST VIRGINIA MINE SUBSIDENCE

LIMIT:                Equal to the amount of Insurance carried on the Structure not to exceed $200,000. Unanchored
                      Mobile Homes are NOT considered Structures. No coverage for Land, Trees, Plants or Crops.
                      No Personal effects coverage.

MANDATORY     COUNTIES:
Berkeley       CabeII         Calhoun             Hampshire      Hardy           Jackson
Jefferson      Monroe         Morgan              Pendleton      Pleasant        Ritchie
Roane          Wirt           Wood



RATES
                  Amount of Coal Mine             Premium Dwelling Structure    Premium Non Dwelling
               Subsidence on the Structure                                            Structure
                              $10.000 or less                        $10.00                     S20.00
                          $10.001 to S15.000                         $11.00                     522.00
                          515.001 to S20.000                         $12.00                     S24.00
                          $20.001 to 525.000                         $13.00                     S26.00
                          $25.001 to $30.000                         $14.00                     528.00
                          530.001 to $35.000                         $15.00                     S30.00
                          535.001 to S40.000                         $16.00                     $32.00
                          $40,001 to S45.000                         $17.00                     S34.00
                          545.001 to $50,000                         $18.00                     S36.00
                          $50,001 to 555.000                         519.00                     S38.00
                          $55,001 to 560.000                         $20.00                     540.00
                          560.001 to 565.000                         $21.00                     542.00
                          S65.001 to $70,000                         $22.00                     $44.00
                          $70001 to S75.000                          $23.00                     $46.00
                          $75,001 to $80000                          $24.00                     $48.00
                          $80.001 to $85.000                         $25.00                     $50.00
                          $85.001 to $90.000                         526.00                     $52 00
                          $90.001 to S95.000                          27.00                     $54.00
                          $95.001 to S100.000                        $28.00                     $556.00
                          $100,001 to S105 COO                       $29.00                     55800
                          $105.001 to S110.000                       $31.00                     $60.00
                          $110.000 to S115.000                       $32.00                     $62.00
                           115.001 to S120.000                       533.00                     564.00
                          $120.001 to S125.000                       $34.00                     $66.00
                          $125.001 to 5130.000                       $35.00                     $68.00
                          5130.001 to 5135.000                       536.00                     S70.00
                          $135.001 to S140.000                       $37.00                     S72.00
                          $140.001 to 5145.000                       $38.00                     S74.00
                          $145001 to S150.000                         39.00                     S76.00
                          $150,001 to S155.000                       S40.00                     $78.00
                          $155,001 to S160.000                       $41.00                     $80.00
                          S160.001 to 5165.000                       542.00                     S82.00
                          S165.001 to S170.000                        43.00                     $84.00
                          $170.001 to $175.000                       $44.00                     $86.00
                          $175001 to S180.000                        $45.00                     588.00
                          $180.001 to S185.000                       $46.00                     S90.00
                          5185.001 to S190.000                       $47.00 '                   S92.00
                          5190.001 to $195.000                       $48.00                     594.00
                          5195.001 to S200.000_                      $49.00                     S96.00


DEDUCTIBLE:          2% of the Dwelling Limit, Minimum of $250 and Maximum of S500




                ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED
                                                                                                                   Electronically Filed - City of St. Louis - November 08, 2021 - 04:23 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 81 of 115 PageID #: 88



                                                                                      MORTGAGE SECURITY
                                                                                           MSP 00 01 02 13

                           MORTGAGE SECURITY POLICY

              INSURING AGREEMENT                                   coverage if a limit and premium are shown
                                                                   in the Declarations page.
We will provide the insurance described in this
Policy in return for the premium and compliance with     C. Coverage Provided: This Policy insures against
all applicable provisions of this Policy. Coverage          direct physical loss or damage to insured
shall apply to all residential and commercial property      property. All coverages, terms and conditions
for which a specific request for coverage is received       for residential property are as set forth in this
from you in accordance with procedures herein               Mortgage Security Policy and the attached
defined.                                                    Dwelling Property Amended Form.               All
                                                            coverages, terms and conditions for commercial
                    DEFINITIONS                             property are as set forth in this Mortgage
                                                            Security Policy and the attached General
Throughout this Policy:                                     Property Amended Form.
A. "You" and "your" refer to the financial institution
                                                         D. Limits of Recovery: Our liability shall not
   shown in item 1. of the Policy Declarations as
                                                            exceed the least of the following after application
   the Named Insured Mortgagee.
                                                            of the deductible stated in this Policy:
B. "We", "us" and "our" refer to the Company                  1. The amount stated on the policy
   providing this insurance.                                     declarations for each location of mortgaged
                                                                 residential, mortgaged commercial property
C. "Policy" shall include the Blanket Mortgage                   insured by this policy.
   Security Policy and all coverage forms and                 2. The amount of insurance specifically
   endorsements attached.                                        requested in your application for coverage
                                                                 under this Policy.
              GENERAL PROVISIONS
                                                              3. The settlement options stated in Dwelling
A. Term: Coverage shall apply to each insured                    Property amended Form applicable to
   property from the effective date requested by                 residential property and General Property
   you upon payment of premium. If the property                  Amended Form applicable to commercial
   afforded insurance by this Policy is also covered             property attached to this Policy.
   by other insurance terminating at noon on the
   inception date of our coverage, insurance under       E. Deductible: For each loss covered under this
   this Policy shall not become effective until such        Policy, we shall be liable for loss only in excess
   other insurance has terminated                           of the appropriate deductible specified on the
                                                            Declarations page which shall not be
B. Property Insured: Coverage applies only to               recoverable under this Policy.
   eligible properties upon which you have
   requested we provide coverage, for which you          F.   Other Insurance: THIS INSURANCE IS
   have paid a premium and in which you have an               EXCESS INSURANCE. If there is any other
   insurable interest as mortgagee, or as the                 valid and collectible insurance which would
   servicing agent by written agreement.                      attach if the insurance provided under this Policy
                                                              had not been effected, this insurance shall apply
    1.   Residential —Buildings used exclusively for          only as excess insurance and in no event as
         personal family housing purposes for 1 to 4          contributing insurance, and then only after all
         families.                                            other insurance has been exhausted.
   2.    Commercial — Buildings used for multi-family
         housing purposes for 5 or more families, and    G. Loss Payable. Loss, if any, shall be made
         all other occupancies.                             payable to you as your interest appears
   3.    Personal Property — Residential and
                                                         H. Salvage and Recoveries: When, in connection
         Business Personal Property are eligible for
                                                            with any loss covered by this Policy, any salvage



MSP 00 01 02 13                                                                                     Page 1 of 5
                                                                                                                      Electronically Filed - City of St. Louis - November 08, 2021 - 04:23 PM
 Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 82 of 115 PageID #: 89




     or recovery is received subsequent to the                  2. You may cancel this policy at any time by
     payment of such loss, the loss shall be refigured             returning it to us or by notifying us in writing
     on the basis on which it would have been settled              of the date cancellation is to take effect, but
     had the amount of salvage or recovery been                    no more than 120 days prior to the date of
     known at the time the amount of loss was                      notification to us, without the approval of the
     originally determined. Any amounts thus found                 company.
     to be due any party shall be promptly paid.                3. We may cancel this Policy or coverage on
                                                                   any individual location by giving you at least
I.   Inspection and Audit: We shall be permitted at                30 days advance written notice of the date
     all reasonable times to inspect the insured                   cancellation is to take effect, with the
     property and to examine you and/or the                        exception of cancellation for nonpayment of
     mortgagor's books and records at any time                     premium which shall be a minimum of 10
     during the currency of this Policy. Within one                days advance written notice.
     year after final settlement of any claim we shall
     be permitted at all reasonable times to examine            4. Cancellation shall be processed immediately
     you and/or the mortgagor's books and records                  and any return premiums shall be reflected
     so far as the books and records relate to any                 in the next monthly report and premium
     payments made because of losses happening                     billing. The return premium will be pro-rata.
     during the term of this Policy. We waive no                5. Cancellation of this policy by either you or us
     rights and undertake no responsibility by reason              will not affect coverage on any individual
     of such inspection or examination or the                      location insured under this policy. Coverage
     omission thereof. We shall also be permitted at               on individual locations shall remain in force
     all reasonable times to audit your records to                 until expiration unless sooner cancelled.
     verify the number of existing loans for which
                                                                6. We may elect not to renew this Policy. We
     renewal policies have not been received.                      may do so by delivery to you or mailing to
                                                                   you at your mailing address shown in the
J.   Reinstatement: A loss to the property reduces                 Declarations, written notice at least 30 days
     the Limits of Recovery by the amount of the
                                                                   before the expiration date of this Policy.
     loss.     Upon repair or replacement of the                   Proof of mailing shall be sufficient proof of
     property, the Limits of Recovery will return to
                                                                   notice. Our failure to send such a notice
     their original amount.
                                                                   within the time prescribed obligates us to
                                                                   renew coverages if you pay the premium
K. Request for Coverage: When you desire
                                                                   before the expiration date.
   coverage on any real property in which you have
   an insurable interest, you will request insurance        M. Reports and Premium Billings: Within 10 days
   by providing us with the following information:
                                                               of the last day of each month, you will provide a
   loan number, name and address of mortgagor,
                                                               complete listing of all properties upon which
   address of property to be insured, class of
                                                               coverage is provided showing loan number,
   property, effective date and amount of insurance            name and address of mortgagor, address of
   requested.     Coverage     shall   automatically           insured property, class of property, coverage
   become effective upon receipt of request for
                                                               effective date, amount of insurance requested,
   coverage and payment of premium and shall
                                                               cancellation date (if applicable). If you are
   remain in force until terminated by either you or
                                                               required to calculate premium, payment of total
   us.
                                                               net premium is due and payable with this report.
L.   Cancellation and Nonrenewal:
                                                            N. Concealment and Fraud: This entire Policy is
     1.   You may cancel coverage on any individual            void if you or the mortgagor has intentionally
          location by notifying us of the desired              concealed or misrepresented any material fact
          effective date of cancellation not prior to the      or circumstance relating to any aspect of this
          effective date of mortgagor provided                 insurance or acted fraudulently or made false
          insurance which meets the requirements of            statements relating to any aspect of this
          your loan agreement, but no more than 120            insurance, whether before or after a loss. Such
          days prior to the date of notification to us,        acts or act by the mortgagor will bar recovery by
          without approval of the company.                     any person except as provided in this Policy with
                                                               respect to your interest.




MSP 00 01 02 13                                                                                       Page 2 of 5
                                                                                                                Electronically Filed - City of St. Louis - November 08, 2021 - 04:23 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 83 of 115 PageID #: 90




0. You and the Mortgagor's Duties After Loss:                   but     not exceeding        the   amount
   In case of a loss to which this insurance may                necessary to repair or replace:
   apply, you and the mortgagor shall see that the           b) Roofs (except for fire peril), carpeting,
   following duties are performed:                              domestic appliances, awnings, outdoor
     1. give us immediate written notice;                       equipment, whether or not attached to
                                                                buildings, and outdoor antennas, at
     2.  protect the property from further damage,              actual cash value at the time of loss but
         making necessary and reasonable repairs to             not exceeding the amount necessary to
         protect the property, and keep an accurate             repair or replace;
         record of repair expenditures. If you or the
         mortgagor fail to do so, we will not pay for        c) Buildings under Coverage A or B:
        any further damage. We will not reimburse               1) at repair or replacement cost without
        for the costs of repairs unless records and                  deduction for depreciation, but not
        receipts are provided;                                       exceeding the smaller of the
     3. make a list of all damaged or destroyed                      following amounts
        property showing in detail quantities, costs,                a. the repair or replacement cost of
        actual cash value, amount of loss claimed                         that part of the building
        and any other information we may require.                         damaged using commonly used
        Attach all bills, receipts and related                            building materials to place the
        documents that substantiate the figures in                        property in a habitable condition
        the list;                                                         for use on the same premises;
                                                                          Or
     4. send to us within 60 days after loss the
        above list and a proof of loss signed and                   b. the      amount       actually    and
        sworn to by you and the mortgagor,                               necessarily spent to repair or
        including:                                                       replace the damaged building.
        1) the time and cause of loss;                          2) If you decide not to repair or replace
        2) the interest of you, the mortgagor and all               the damaged property, at our option,
             others in the property:                                we may make settlement on an
                                                                    actual cash value basis. You may
        3) all encumbrances on the property:
                                                                    make claim within 180 days after the
        4) other insurance which may cover the                      loss for any additional payment on a
             loss;                                                  repair or replacement cost basis.
        5) changes in title, use occupancy or
                                                        2.   Commercial
             possession of the property; and
        6) if required, any plans and specifications         a) All     property       except       Tenant's
             of the damaged buildings.                          Improvements and Betterments at
                                                                actual cash value except as provided
     5. exhibit the damaged property to us or our               below or by endorsement.
        representative as often as may be required;
                                                             b) Tenant's         Improvements            and
     6. as often as we may require, submit to                   Betterments:
        examinations under oath by any person
        named by us and sign the transcript of the              (1) If repaired or replaced at the
        examinations:                                               expense of you or the mortgagor
                                                                    within a reasonable time after loss,
     7. produce for examination, with permission to                 the actual cash value of the
        copy, all records and documents that we                     damaged             Or         destroyed
        may require:                                                improvements and betterments limit.
     8. in the event of a loss by theft, vandalism or           (2) If not repaired or replaced at the
        malicious mischief, report the occurrence to                expense of you or the mortgagor
        the police immediately.                                     within a reasonable time after loss,
                                                                    that proportion of the original cost at
P.   Loss Settlement: Covered Property Losses are                   the time of installation of the
     settled as follows:                                            damaged or destroyed property
     1.   Residential                                               which the unexpired term of the
                                                                    lease or rental agreement, whether
          a) Other Structures that are not buildings                written or oral, in effect at the time of
             at actual cash value at the time of loss



MSP 00 01 02 13                                                                                 Page 3 0f5
                                                                                                                     Electronically Filed - City of St. Louis - November 08, 2021 - 04:23 PM
 Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 84 of 115 PageID #: 91




                  loss bears to the periods from the         U. Suit Against Us. No action can be brought
                  date     such     improvements  or            against us unless there has been full compliance
                  betterments were made to the                  with all of the terms under this policy and the
                  expiration of the lease.                      action is started within two years after the date
                                                                of loss.
Q. Loss to a Pair, Set, Series of Objects or
   Interior or Exterior Panels: In case of loss to a         V. Abandonment of Property: We need not
   pair or set we may elect to:                                 accept any property abandoned by you or the
     1.   Repair or replace any part to restore the pair        mortgagor.
          or set to its value before the loss; or
                                                             W. No Benefit to Bailee: We will not recognize any
     2.   Pay the difference between actual cash                assignment or grant any coverage that benefits
          value of the property before and after the            a person or organization holding, storing or
          loss.                                                 moving property for a fee regardless of any
     We cannot guarantee the availability of parts      or      other provision of this policy.
     of replacements. We will not be obligated          to
     repair or replace the entire pair, set or series   of   X. Liberalization Clause: If we adopt any revision
     objects, piece or panel when a part is lost        or      which would broaden the coverage under this
     damaged.                                                   Policy without additional premium within 60 days
                                                                prior to or during the Policy period, the
R. Glass Replacement: Covered loss to glass                     broadened coverage will immediately apply to
   shall be settled on the basis of replacement with            this Policy.
   safety glazing materials when required by
   ordinance or law,                                         Y. Waiver or Change of Policy Provisions: A
                                                                waiver or change of any provision of this Policy
S. Appraisal: If you and we fail to agree on the                must be in writing by us to be valid.
   amount of loss, either may demand an appraisal
   of the loss. In this event, each party will choose        Z. Assignment: Assignment of this Policy shall not
   a competent and impartial appraiser within 20                be valid unless we give our written consent.
   days after receiving a written request from the
   other.     The two appraisers will choose an              AA. Your Interest:
   umpire. If they cannot agree upon an umpire                  1.   Your interest will not be impaired by any act
   within 15 days, you or we may request that the                    or neglect of the mortgagor, provided you:
   choice be made by a judge of a court of record
   in the state where the Described Location is                      a) notify us of any change in occupancy,
   located. The appraisers will separately set the                       ownership, or substantial change in risk
   amount of loss. If the appraisers submit a                            as soon as you become aware of such
   written report of an agreement to us, the amount                      change; and
   agreed upon will be the amount of loss. If they                   b) pay any premium when due under this
   fail to agree, they will submit their differences to                  Policy.
   the umpire. A decision agreed to by any two will             2.   If we pay you for any loss and do not pay
   set the amount of loss.                                           the mortgagor,
     Each party will:                                                a) we are subrogated to all of your rights
     1.   Pay its own appraiser; and                                     granted under the mortgage on the
                                                                         property and may require a partial
     2.   Bear the other expenses of the appraisal                       assignment of the mortgage to the
          and umpire equally.                                            extent of payment made; or
T.   Subrogation. You or the mortgagor may waive                     b) at our option, we may pay you the whole
                                                                         principal on the mortgage plus any
     in writing before a loss all rights of recovery
     against any person. If not waived, we may                           accrued interest. In this event, we will
     require an assignment of rights of recovery for a                   receive a full assignment and transfer of
     loss to the extent that payment is made by us. If                   the mortgage and all securities held as
     an assignment is sought, you and the mortgagor                      collateral to the debt.
     shall sign and deliver all related papers and              Subrogation will not impair your right to recover
     cooperate with us in any reasonable manner.                the full amount of your claim.



MSP 00 01 02 13                                                                                       Page 4 of 5
                                                                                       Electronically Filed - City of St. Louis - November 08, 2021 - 04:23 PM
 Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 85 of 115 PageID #: 92




BB. Nuclear Hazard Clause
    1.   "Nuclear Hazard" means any nuclear
         reaction,     radiation     Or     radioactive
         contamination, all whether controlled or
         uncontrolled or however caused, or any
         consequence of any of these.
    2.   Loss caused by the nuclear hazard shall not
         be considered loss caused by fire, explosion
         or smoke, whether these perils are
         specifically named in or otherwise included
         within the Perils Insured Against.
    3.   This Policy does not apply to loss caused
         directly or indirectly by nuclear hazard,
         except that direct loss by fire resulting from
         the nuclear hazard is covered.

CC. Our Option: We may at our option replace the
    property with property of similar kind, quality and
    value. If as the result of your loss we pay in
    cash or by replacement an amount equal to the
    actual cash value of the property before the loss,
    at our option, we have the right to take legal title
    to the property.




MSP 00 01 02 13                                                          Page 5 of 5
                                                                                                                    Electronically Filed - City of St. Louis - November 08, 2021 - 04:23 PM
 Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 86 of 115 PageID #: 93



                                                                                       MORTGAGE SECURITY
                                                                                            MSP 00 03 02 13

                DWELLING PROPERTY 3A AMENDED FORM

                     AGREEMENT                             We do not cover structures:
                                                              1. used in whole or in part for commercial,
We will provide the insurance described in this                   manufacturing or farming purposes; or
Policy in return for the premium and compliance with
                                                              2. rented to or held for rental for any person
all applicable provisions of this Policy.
                                                                  not a tenant of the dwelling, unless used
                                                                  solely as a private garage; or
                     DEFINITIONS
                                                              3. such as fences, satellite dishes, antennas,
1.   Throughout this Policy, "you" and "your" refer to            or radio and television towers separated
     the Named Insured Mortgagee shown in the                     from the dwelling.
     Declarations. "We" "us" and "our" refer to the
     Company providing this insurance.                     C. OTHER COVERAGES

2.   "Dwelling" means any building used exclusively           1.   Debris Removal - We will pay the
     for personal family housing purposes for 1 to 4               reasonable expenses incurred for the
     families.                                                     removal of debris from a property loss
                                                                   covered by this Policy. Payment under this
                     COVERAGES                                     coverage reduces the Limit of Recovery
                                                                   applying to the damaged property.
This insurance applies to the requested location.
This insurance does not cover land.                           2.   Reasonable Repairs
                                                                   a. In the event that covered property is
A. COVERAGE A —DWELLING                                               damaged by a Peril Insured Against, we
                                                                      will pay the reasonable cost incurred by
We cover:                                                             you for necessary measures taken
                                                                      solely to protect against further damage.
     1.   the dwelling on the requested location, used
          principally for dwelling purposes;                       b.   If the measures taken involve repair to
                                                                        other damaged property, we will pay for
     2.   structures attached to the dwelling;                          those measures only if that property is
     3.   materials and supplies on or adjacent to the                  covered under this policy and the
          requested location for use in the                             damage to that property is caused by a
          construction, alteration or repair of the                     Peril Insured Against. This coverage
          dwelling or Other Structures on this location;                does not:
          and                                                           (1) Increase the limit of liability that
     4.   building equipment and outdoor equipment                          applies to the covered property; or
          used for the service of and located on the                    (2) Relieve you of your duties, in case
          requested location.                                               of a loss to covered property, as set
                                                                            forth in Condition Your and the
B. COVERAGE B — OTHER STRUCTURES                                            Mortgagor's Duties After Loss.
We cover Other Structures on the requested                    3.   Collapse
location, separated from the dwelling by clear space.              a. With respect to this Other Coverage:
Structures connected to the dwelling by only a                         (1) Collapse means an abrupt falling
fence, utility line or similar connection are                              down or caving in of a building or
considered to be Other Structures. You may use up                          any part of a building with the result
to 10% of the Coverage A Limit of Recovery for loss                        that the building or part of the
by a Peril Insured Against to Other Structures                             building cannot be occupied for its
described in this Coverage B. Payment under this                           current intended purpose.
coverage reduces the Coverage A Limit of
Recovery.




MSP 00 03 02 13                                                                                      Page 1 0f6
                                                                                                             Electronically Filed - City of St. Louis - November 08, 2021 - 04:23 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 87 of 115 PageID #: 94




             (2) A building or any part of a building          with respect to the increased costs you
                 that is in danger of falling down or          incur due to the enforcement of any
                 caving in is not considered to be in a        ordinance or law which requires or
                 state of collapse.                            regulates:
             (3) A  part of a building that is standing        (1) The      construction,      demolition,
                 is not considered to be in a state of             remodeling, renovation or repair of
                 collapse even if it has separated                 that part of a covered building or
                 from another part of the building.                other structure damaged by a Peril
             (4) A building or any part of a building              Insured Against:
                 that is standing is not considered to         (2) The demolition and reconstruction of
                 be in a state of collapse even if it              the undamaged part of a covered
                 shows      evidence     of cracking,              building or other structure, when
                 bulging, sagging, bending, leaning,               that building or other structure must
                 settling, shrinkage or expansion.                 be totally demolished because of
                                                                   damage by a Peril Insured Against
        b. We insure for direct physical loss to
                                                                   to another part of that covered
           covered property involving collapse of a
                                                                   building or other structure: or
           building or any part of a building if the
           collapse was caused by one or more of               (3) The     remodeling,      removal     Or
           the following:                                          replacement of the portion of the
                                                                   undamaged part of a covered
           (1) The Perils Insured Against;
                                                                   building or other structure necessary
           (2) Decay that is hidden from view,                     to complete the remodeling, repair
                unless the presence of such decay                  or replacement of that part of the
                is known to you prior to collapse;                 covered building or other structure
           (3) Insect or vermin damage that is                     damaged by a Peril Insured Against.
                hidden from view, unless the
                                                          b.   If you are an owner of a Described
                presence of such damage is known
                                                               Location, and that location:
                to you prior to collapse:
                                                               (1) Is insured for Coverage A or Unit-
           (4) Weight of contents, equipment,
                                                                   Owners Building Items, you may
                animals or people:
                                                                   use up to 10% of the limit of liability
           (5) Weight of rain which collects on a                  that applies to Coverage A or Unit-
                roof: or                                           Owners Building Items at each
           (6) Use of defective material or                        Described Location; or
                methods in construction, remodeling            (2) Is not insured for Coverage A or
               or renovation if the collapse occurs                Unit-Owners Building Items, you
               during      the     course    of    the             may use up to 10% of the total limit
               construction,        remodeling      Or             of liability that applies to Coverage
               renovation.                                         B at each Described Location.
        c.   Loss to an awning, fence, patio, deck,       c.   If you are a tenant of a Described
             pavement, swimming pool, underground              Location, you may use up to 10% of the
             pipe, flue, drain, cesspool, septic tank,         limit of liability that applies to
             foundation, retaining wall, bulkhead,             Improvements,       Alterations     And
             pier, wharf or dock is not included under         Additions at each Described Location.
             b.(2) through (6) above unless the loss           Also, the words "covered building" used
             is a direct result of the collapse of a           throughout this Other Coverage 12.
             building or any part of a building.               Ordinance Or Law, refer to property at
        d.   This coverage does not increase the               such a Described Location covered
             limit of liability that applies to the            under Other Coverage 3. Improvements,
             damaged covered property.                         Alterations And Additions.
                                                          d.   You may use all or part of this ordinance
   4.   Ordinance Or Law                                       or law coverage to pay for the increased
        a.   The Ordinance Or Law limit of liability           costs you incur to remove debris
             determined in b. or c. below will apply           resulting   from    the      construction,
                                                               demolition,   remodeling,      renovation,



MSP 00 03 02 13                                                                              Page 2 of 6
                                                                                                         Electronically Filed - City of St. Louis - November 08, 2021 - 04:23 PM
 Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 88 of 115 PageID #: 95




             repair or replacement of property as               (b) Shut off the water supply
             stated in a. above.                                    and drain all systems and
                                                                    appliances of water;
        e.   We do not cover:
             (1) The loss in value to any covered               However, if the building is
                 building or other structure due to the         protected by an automatic fire
                 requirements of any ordinance or               protective sprinkler system, you
                 law; or                                        must use reasonable care to
                                                                continue the water supply and
             (2) The costs to comply with any
                                                                maintain heat in the building for
                 ordinance or law which requires you
                                                                coverage to apply.
                 or others to test for, monitor, clean
                 up, remove, contain, treat, detoxify           For purposes of this provision a
                 or neutralize, or in any way respond           plumbing system or household
                 to, or assess the effects of,                  appliance does not include a
                 pollutants in or on any covered                sump, sump pump or related
                 building or other structure.                   equipment or a roof drain,
                                                                gutter, downspout or similar
                 Pollutants means any solid, liquid,
                                                                fixtures or equipment.
                 gaseous or thermal irritant or
                 contaminant,     including  smoke,       (2)   Freezing, thawing, pressure or
                 vapor, soot, fumes, acids, alkalis,            weight of water or ice, whether
                 chemicals and waste.         Waste             driven by wind or not, to a:
                 includes materials to be recycled,             (a) Fence, pavement, patio or
                 reconditioned or reclaimed.                         swimming pool;
                                                                (b) Footing,              foundation,
This coverage is additional insurance.                               bulkhead, wall, or any other
                                                                     structure or device, that
             PERILS INSURED AGAINST                                  supports all or part of a
                                                                     building or other structure;
COVERAGE A — DWELLING AND COVERAGE B
— OTHER STRUCTURES                                              (c) Retaining wall or bulkhead
                                                                     that does not support all or
    A. Coverage A — Dwelling And Coverage B —                        part of a building or other
       Other Structures                                              structure; or
                                                                (d) Pier, wharf or dock;
        1.   We insure against risk of direct physical
             loss to property described in Coverages      (3)   Theft of property not part of a
             A and B.                                           covered building or structure;
        2.   We do not insure, however, for loss:         (4)   Theft in or to a dwelling or
             a. Excluded under General Exclusions:              structure under construction;
             b. Involving collapse,        except as      (5)   Wind, hail, ice, snow or sleet to:
                 provided in Other Coverage 3.                  (a) Outdoor radio and television
                 Collapse; or                                        antennas        and       aerials
             c. Caused by:                                           including      their      lead-in
                 (1) Freezing of a plumbing, heating,                wiring, masts or towers; or
                     air conditioning or automatic fire         (b) Trees, shrubs, plants or
                     protective sprinkler system or of               lawns;
                     a household appliance, or by         (6)   constant or repeated seepage
                     discharge, leakage or overflow             or leakage of water or steam
                     from within the system or                  over a period of weeks, months,
                     appliance caused by freezing.              or years from within a plumbing,
                     This provision does not apply if           heating, air conditioning or
                     you have used reasonable care              automatic       fire        protective
                     to:                                        sprinkler system or from within a
                     (a) Maintain      heat   in   the          household appliance.
                          building; or



MSP 00 03 02 13                                                                         Page 3 of 6
                                                                                                                     Electronically Filed - City of St. Louis - November 08, 2021 - 04:23 PM
 Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 89 of 115 PageID #: 96




                   For purposes of this provision, a                               water or steam from within
                   plumbing system or household                                    a:
                  appliance does not include a
                                                                                   i.   Storm drain, or water,
                  sump, sump pump or related
                  equipment or a roof drain,                                            steam or sewer pipe, off
                                                                                        the Described Location;
                  gutter, downspout or similar
                                                                                        or
                  fixtures or equipment;
                                                                                  ii.   Plumbing, heating, air
              (7) Any of the following:                                                 conditioning            Or
                  (a) Wear and tear, marring,                                           automatic fire protective
                        deterioration;                                                  sprinkler    system     or
                  (b) Mechanical           breakdown,                                   household appliance on
                        latent defect, inherent vice,                                   the Described Location.
                       or any quality in property                                       This includes the cost to
                       that causes it to damage or                                      tear out and replace any
                       destroy itself;                                                  part of a building, or
                  (c) Smog,        rust     or     other                                other structure, on the
                       corrosion, mold, wet or dry                                      Described Location, but
                        rot:                                                            only when necessary to
                  (d) Smoke from agricultural                                           repair the system or
                       smudging        or     industrial                                appliance.       However,
                       operations;                                                      such tear out and
                                                                                        replacement coverage
                  (e) Discharge,             dispersal,
                                                                                        only applies to other
                       seepage, migration release
                                                                                        structures if the water or
                       or escape of pollutants
                                                                                        steam causes actual
                       unless       the     discharge,
                                                                                        damage to a building on
                       dispersal,            seepage,
                                                                                        the Described Location.
                       migration,       release       or
                       escape is itself caused by a                                We do not cover loss to the
                       Peril Insured Against.                                      system or appliance from
                       Pollutants means any solid,                                 which this water or steam
                       liquid, gaseous or thermal                                  escaped.
                       irritant    or     contaminant,                             For the purposes of this
                       including smoke, vapor,                                     provision,      a    plumbing
                       soot, fumes, acids, alkalis,                                system       or     household
                       chemicals        and      waste.                            appliance does not include
                       Waste includes materials to                                 a sump, sump pump or
                       be recycled, reconditioned                                  related equipment or roof
                       or reclaimed;                                               drain, gutter, down spout or
                  (f) Settling, shrinking, bulging                                 similar       fixtures      Or
                       or expansion,          including                            equipment.
                       resultant      cracking,       of
                       bulkheads,          pavements,      General Exclusion A.3. Water Damage, Paragraphs
                       patios,                 footings,   a. and c. that apply to surface water and water
                       foundations, walls, floors,         below the surface of ground do not apply to loss by
                       roofs or ceilings; or               water covered under c.(7) above.
                  (g) Birds, vermin, rodents,              Under 2.b. and c. above, any ensuing loss to
                       insects or domestic animals.
                                                           property described in Coverages A and B not
                       Exception to c.(7)                  excluded or excepted in this policy is covered.
                      Unless the loss is otherwise
                      excluded, we cover loss to
                      property covered under
                      Coverage A or B resulting
                      from      an      accidental
                      discharge or overflow of



MSP 00 03 02 13                                                                                      Page 4 of 6
                                                                                                                  Electronically Filed - City of St. Louis - November 08, 2021 - 04:23 PM
 Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 90 of 115 PageID #: 97




               GENERAL EXCLUSIONS                         3.   Water Damage

A. We do not insure for loss caused directly or                Water Damage means:
   indirectly by any of the following. Such loss is            a. Flood, surface water, waves, tidal water,
   excluded regardless of any other cause or event                overflow of a body of water or spray
   contributing concurrently or in any sequence to                from any of these, whether or not driven
   the loss. These exclusions apply whether or not                by wind;
   the loss event results in widespread damage or              b. Water or water-borne material which
   affects a substantial area                                     backs up through sewers or drains or
                                                                  which overflows or is discharged from a
    1.   Ordinance Or Law                                         sump, sump pump or related equipment:
                                                                    Or
         Ordinance Or Law means any ordinance or
         law:                                                  c.  Water or water-borne material below the
                                                                   surface of the ground, including water
         a. Requiring or regulating the construction,              which exerts pressure on or seeps or
              demolition, remodeling, renovation or                leaks through a building, sidewalk,
              repair of property, including removal of             driveway, foundation, swimming pool or
              any resulting debris. This Exclusion                 other structure:
              A.1.a. does not apply to the amount of
              coverage that may be provided under              caused by or resulting from human or animal
              Other Coverage 4. Ordinance Or Law:              forces or any act of nature.
         b. The requirements of which result in a              Direct loss by fire or explosion resulting from
            loss in value to property; or                      water damage is covered.
         c.   Requiring you or others to test for,        4.   Power Failure
              monitor, clean up, remove, contain,
              treat, detoxify or neutralize, or in any         Power Failure means the failure of power or
              way respond to, or assess the effects of,        other utility service if the failure takes place
              pollutants.                                      off the Described Location. But if the failure
                                                               of power or other utility service results in a
              Pollutants means any solid, liquid,              loss, from a Peril Insured Against on the
              gaseous     or    thermal     irritant or        Described Location, we will pay for the loss
              contaminant, including smoke, vapor,             caused by that Peril Insured Against
              soot, fumes, acids, alkalis, chemicals
              and waste. Waste includes materials to      5.   Neglect
              be recycled, reconditioned or reclaimed.
                                                               Neglect means your neglect to use all
         This Exclusion A.1. applies whether or not            reasonable means to save and preserve
         the property has been physically damaged.             property at and after the time of a loss.
   2.    Earth Movement                                   6.   War
         Earth Movement means:                                 War includes the following and any
         a. Earthquake, including land shock waves             consequence of any of the following:
             or tremors before, during or after a              a. Undeclared war, civil war, insurrection,
             volcanic eruption,                                   rebellion or revolution;
         b. Landslide, mudslide or mudflow,                    b. Warlike act by a military force or military
         c. Subsidence or sinkhole: or                            personnel:
         d. Any other earth movement including                 c. Destruction or seizure or use for a
             earth sinking, rising or shifting;                   military purpose.
         caused by or resulting from human or animal           Discharge of a nuclear weapon will be
         forces or any act of nature unless direct loss        deemed a warlike act even if accidental.
         by fire or explosion ensues and then we will
         pay only for the ensuing loss.




MSP 00 03 02 13                                                                                   Page 5 of 6
                                                                                                                  Electronically Filed - City of St. Louis - November 08, 2021 - 04:23 PM
 Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 91 of 115 PageID #: 98




    7.   Nuclear Hazard                                   B. We do not insure for loss to property described
                                                             in Coverages A and B caused by any of the
         This Exclusion A.7. pertains to Nuclear
                                                             following.   However, any ensuing loss to
         Hazard to the extent set forth in the Nuclear
                                                             property described in Coverages A and B not
         Hazard Clause of the General Provisions.
                                                             precluded by any other provision in this policy is
                                                             covered.
    8.   Intentional Loss
                                                              1.Weather conditions.           However, this
         Intentional Loss means any loss arising out
                                                                exclusion only applies if weather conditions
         of any act you or any person or organization
                                                                contribute in any way with a cause or event
         named as an additional insured commits or
                                                                excluded in A. above to produce the loss.
         conspires to commit with the intent to cause
         a loss.                                             2. Acts or decisions, including the failure to act
                                                                or decide, of any person, group,
         In the event of such loss, neither you nor             organization or governmental body.
         any such person or organization is entitled
         to coverage, even those who did not commit          3. Faulty, inadequate or defective:
         or conspire to commit the act causing the              a. Planning,        zoning,      development,
         loss.                                                      surveying, siting;
                                                                b. Design, specifications, workmanship,
   9.    Governmental Action                                        repair,     construction,      renovation,
         Governmental Action means the destruction,                 remodeling, grading, compaction:
         confiscation or seizure of property described          c. Materials used in repair, construction,
         in A and B by order of any governmental or                 renovation or remodeling: or
         public authority.                                      d. Maintenance,
         This exclusion does not apply to such acts                of part or all of any property whether on or
         ordered by any governmental or public                     off the Described Location.
         authority that are taken at the time of a fire
         to prevent its spread, if the loss caused by
         fire would be covered under this policy.




MSP 00 03 02 13                                                                                    Page 6 of 6
                                                                                                             Electronically Filed - City of St. Louis - November 08, 2021 - 04:23 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 92 of 115 PageID #: 99



                                                                               MORTGAGE SECURITY
                                                                                    MSP 00 04 02 13

                   GENERAL PROPERTY AMENDED FORM

                    AGREEMENT                               b. Animals:
                                                           c. Automobiles held for sale:
We will provide the insurance described in this
Policy in return for the premium and compliance with       d. Bridges, roadways, walks, patios or
all applicable provisions of this Policy.                      other paved surfaces:
                                                           e. Contraband, or property in the course of
                    DEFINITIONS                                illegal transportation or trade:
                                                           f. The cost of excavations, grading,
Throughout this Policy, "you" and "your" refer to the          backfilling or filling;
Named Insured shown in the Declarations. "We",
"us" and "our" refer to the Company providing this
                                                           g. Foundations of buildings, structures,
                                                               machinery or boilers if their foundations
insurance.                                                     are below:
        SECTION I — PROPERTY COVERED                           (1) The lowest basement floor: or
                                                               (2) The surface of the ground, if there is
The insurance under this Policy covers "Building(s)"                no basement;
in accordance with the following description(s) of         h. Land (including land on which the
coverage. This insurance does not cover land.                  property is located), water, growing
Coverage A - Building(s): Building(s) or structure(s)          crops or lawns:
shall include attached additions and extensions:           i. Personal property while airborne or
fixtures, machinery and equipment constituting a               waterborne;
permanent part of and pertaining to the service of
the building; yard fixtures; personal property of the          Bulkheads, pilings, piers, wharves or
mortgagor used for the maintenance or service of               docks;
the described building(s), including fire extinguishing    k. Property that is covered under another
apparatus, outdoor furniture, floor coverings and              coverage form of this or any other policy
appliances for refrigerating, ventilating, cooking,            in which it is more specifically described,
dishwashing and laundering (but not including other            except for the excess of the amount due
personal property in apartments or rooms furnished             (whether you can collect on it or not)
by the mortgagor as landlord); all while as the                from that other insurance;
described location(s).                                     I. Retaining walls that are not part of a
                                                               building;
Debris Removal: This insurance covers expense
                                                           m. Underground pipes, flues or drains:
incurred in the removal of debris of the property
covered, which may be occasioned by loss caused            n. Electronic data, except as provided
by any of the perils insured against in this Policy.           under      the      Additional    Coverage,
                                                               Electronic Data Electronic data means
The total liability under this Policy for both loss to         information, facts or computer programs
property and debris removal expense shall not                  stored as or on, created or used on, or
exceed the amount of insurance applying under this             transmitted to or from computer
Policy to the property covered.                                software      (including     systems    and
                                                               applications software), on hard or floppy
    SECTION ll — PROPERTY NOT COVERED                          disks, CD-ROMs, tapes, drives, cells,
                                                               data processing devices or any other
Policy does not cover:                                         repositories of computer software which
                                                               are used with electronically controlled
    1. Covered Property does not include:                      equipment.           The term computer
        a. Accounts, bills, currency, food stamps or           programs, referred to in the foregoing
            other evidences of debt, money, notes              description of electronic data, means a
            or securities. Lottery tickets held for sale       set of related electronic instructions
            are not securities;                                which direct the operations and



MSP 00 04 02 13                                                                              Page 1 of 7
                                                                                                                         Electronically Filed - City of St. Louis - November 08, 2021 - 04:23 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 93 of 115 PageID #: 100




           functions of a computer or device                            appearing in the Declarations of the Blanket
           connected to it, which enable the                            Mortgage Security Policy are also excluded.
           computer or device to receive, process,
           store, retrieve or send data.            This           SECTION III - PERILS INSURED AGAINST
           paragraph, n., does not apply to your
           "stock" of prepackaged software;                    This Policy insures against all direct loss caused by
        o. The cost to replace or restore the                      I. Fire
           information on valuable papers and
           records, including those which exist as                 2.   Lightning.
           electronic data. Valuable papers and                    3.   Explosion, including the explosion of gases
           records include but are not limited to                       or fuel within the furnace of any fired vessel
           proprietary     information,    books      of                or within the flues or passages through
           account, deeds, manuscripts, abstracts.                      which the gases of combustion pass. This
           drawings and card index systems. Refer                       cause of loss does not include loss or
           to the Coverage Extension for Valuable                       damage by:
           Papers And Records (Other Than                               a. Rupture, bursting or operation of
           Electronic Data) for limited coverage for                         pressure -relief devices; or
           valuable papers and records other than
           those which exist as electronic data;                        b. Rupture or bursting due to expansion or
                                                                             swelling of the contents of any building
        p. Vehicles    or self-propelled machines
                                                                             or structure, caused by or resulting from
           (including aircraft or watercraft) that:                         water.
           (1) Are licensed for use on public roads;
                 Or                                                4.   Windstorm or Hail, but not including:
             (2) Are operated principally away from                     a. Frost or cold weather;
                  the described premises.                               b. Ice (other than hail), snow or sleet,
             This paragraph does not apply to:                             whether driven by wind or not; or
                  (a) Vehicles       or      self-propelled             c. Loss or damage to the interior of any
                       machines       or     autos     you                 building or structure, or the property
                       manufacture,         process       or               inside the building or structure, caused
                       warehouse:                                          by rain, snow, sand or dust, whether
                                                                           driven by wind or not, unless the
                  (b) Vehicles       or      self-propelled                building or structure first sustains wind
                       machines, other than autos, you                     or hail damage to its roof or walls
                       hold for sale
                                                                           through which the rain, snow, sand or
                  (c) Rowboats or canoes out of                            dust enters.
                       water     at      the     described
                       premises; or                                5.   Smoke causing sudden and accidental loss
                                                                        or damage. This cause of loss does not
                  (d) Trailers, but only to the extent                  include smoke from agricultural smudging or
                       provided for in the Coverage                     industrial operations.
                       Extension      for      Non-owned
                       Detached Trailers;                          6.   Aircraft or Vehicles, meaning only physical
                                                                        contact of an aircraft, a spacecraft, a self-
        q. The following property while outside of                      propelled missile, a vehicle or an object
             buildings:
                                                                        thrown up by a vehicle with the described
             (1) Grain, hay, straw or other crops;                      property or with the building or structure
             (2) Fences, radio or television antennas                   containing the described property.      This
                  (including satellite dishes) and their                cause of loss includes loss or damage by
                  lead-in wiring, masts or towers,                      objects falling from aircraft.
                 trees, shrubs or plants (other than
                                                                        We will not pay for loss or damage caused
                 "stock" of trees, shrubs or plants),
                                                                        by or resulting from vehicles you own or
                 all except as provided in the
                                                                        which are operated in the course of your
                 Coverage Extensions.
                                                                        business.
   2.   In addition to the properties listed in item 1
        a. through q. above any Ineligible Properties




MSP 00 04 02 13                                                                                           Page 2 of 7
                                                                                                                    Electronically Filed - City of St. Louis - November 08, 2021 - 04:23 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 94 of 115 PageID #: 101




   7.   Riot or Civil Commotion, including:                        a. The cost of filling sinkholes: or
        a. Acts of striking employees while                        b. Sinking or collapse of land into man-
            occupying the described premises; and                     made underground cavities.
        b. Looting occurring at the time and place             11. Volcanic Action, meaning direct loss or
            of a riot or civil commotion.                          damage resulting from the eruption of a
   8.   Vandalism, meaning willful and malicious                   volcano when the loss or damage is caused
        damage to, or destruction of, the described                by:
        property.                                                  a. Airborne volcanic blast or airborne
        We will not pay for loss or damage caused                       shock waves;
        by or resulting from theft, except for building            b. Ash, dust or particulate matter, or
        damage caused by the breaking in or exiting                c. Lava flow.
        of burglars.
                                                                   All volcanic eruptions that occur within any
   9.   Sprinkler Leakage, meaning leakage or                      168 -hour period will constitute a single
       discharge of any substance from an                          occurrence.
       Automatic Sprinkler System, including                       This cause of loss does not include the cost
       collapse of a tank that is part of the system.              to remove ash, dust or particulate matter
        If the building or structure containing the                that does not cause direct physical loss or
       Automatic Sprinkler System is Covered                       damage to the described property.
        Property, we will also pay the cost to:
                                                               12. Falling Objects
       a. Repair or replace damaged parts of the
                                                                   But we will not pay for loss or damage to:
             Automatic Sprinkler System if the
             damage:                                               a. Personal property in the open; or
             (1) Results in sprinkler leakage; or                  b. The interior of a building or structure, or
                                                                        property inside a building or structure,
             (2) Is directly caused by freezing.
                                                                        unless the roof or an outside wall of the
       b. Tear out and replace any part of the                          building or structure is first damaged by
             building or structure to repair damage to                 a falling object.
             the Automatic Sprinkler System that has
             resulted in sprinkler leakage.                    13. Weight Of Snow, Ice Or Sleet
             Automatic Sprinkler System means:                     But we will not pay for loss or damage to
                                                                   personal property outside of buildings or
             (1) Any automatic fire -protective or
                                                                   structures.
                  extinguishing     system,       including
                  connected:                                   14. Water Damage
                  (a) Sprinklers       and       discharge         a. Water Damage, meaning accidental
                       nozzles;                                       discharge or leakage of water or steam
                  (b) Ducts, pipes, valves and fittings;              as the direct result of the breaking apart
                                                                      or cracking of a plumbing, heating, air
                 (c) Tanks, their component parts
                                                                      conditioning or other system or
                       and supports, and
                                                                      appliance, that is located on the
                 (d) Pumps         and     private      fire          described premises and contains water
                       protection mains.                              or steam.
             (2) When supplied from an automatic                      However, Water Damage does not
                 fire -protective system:                             include:
                 (a) Non -automatic        fire -protective           (1) Discharge or leakage from:
                       systems; and
                                                                           (a) An Automatic Sprinkler System;
                 (b) Hydrants,       standpipes        and
                                                                           (b) A sump or related equipment
                       outlets.
                                                                               and parts, including overflow
   10. Sinkhole Collapse, meaning loss or                                      due to sump pump failure or
       damage caused by the sudden sinking or                                  excessive volume of water; or
       collapse of land into underground empty
                                                                           (c) Roof        drains,       gutters,
       spaces created by the action of water on
                                                                               downspouts or similar fixtures or
       limestone or dolomite. This cause of loss
                                                                               equipment;
       does not include:



MSP 00 04 02 13                                                                                      Page 3 of 7
                                                                                                             Electronically Filed - City of St. Louis - November 08, 2021 - 04:23 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 95 of 115 PageID #: 102




            (2) The cost to repair any defect that                  following a physical loss to that
                caused the loss or damage;                          property.
            (3) Loss or damage caused by or                b. Earth Movement
                resulting     from   continuous     or         (1) Earthquake, including any earth
                repeated seepage or leakage of                      sinking, rising or shifting related to
                water,     or    the   presence     or              such event:
                condensation of humidity, moisture
                                                               (2) Landslide, including any earth
                or vapor, that occurs over a period
                of 14 days or more; or                              sinking, rising or shifting related to
                                                                    such event:
           (4) Loss or damage caused by or
                resulting from freezing. unless:               (3) Mine         subsidence,       meaning
                                                                    subsidence of a man-made mine,
                (a) You do your best to maintain                   whether or not mining activity has
                    heat in the building or structure:              ceased;
                    or
                                                               (4) Earth sinking (other than sinkhole
                (b) You drain the equipment and                    collapse), rising or shifting including
                    shut off the water supply if the                soil conditions which cause settling,
                    heat is not maintained                         cracking or other disarrangement of
        b. If coverage applies subject to a. above,                foundations or other parts of realty.
           and the building or structure containing                Soil conditions include contraction,
           the system or appliance is Covered                      expansion,       freezing,     thawing,
           Property, we will also pay the cost to                  erosion, improperly compacted soil
           tear out and replace any part of the                    and the action of water under the
           building or structure to repair damage to               ground surface.
           the system or appliance from which the              But if Earth Movement, as described in
           water or steam escapes. But we will not             b.(1) through (4) above, results in fire or
           pay the cost to repair any defect that             explosion, we will pay for the loss or
           caused the loss or damage.                         damage caused by that fire or
                                                              explosion.
           SECTION IV —EXCLUSIONS
                                                              (5) Volcanic eruption, explosion or
                                                                   effusion. But if volcanic eruption,
   1.   We will not pay for loss or damage caused
                                                                   explosion or effusion results in fire,
        directly or indirectly by any of the following.
                                                                   building glass breakage or Volcanic
        Such loss or damage is excluded regardless
                                                                   Action, we will pay for the loss or
        of any other cause or event that contributes
                                                                   damage caused by that fire, building
        concurrently or in any sequence to the loss.
                                                                   glass breakage or Volcanic Action.
        a. Ordinance Or Law
                                                          c. Governmental Action
            The enforcement of any ordinance or
                                                              Seizure or destruction of property by
            law:
                                                              order of governmental authority.
            (1) Regulating the construction, use or
                                                              But we will pay for loss or damage
            repair of any property; or
                                                              caused by or resulting from acts of
            (2) Requiring the tearing down of any             destruction ordered by governmental
            property including the cost of removing           authority and taken at the time of a fire
            its debris.                                       to prevent its spread, if the fire would be
            This exclusion, Ordinance Or Law,                 covered under this Coverage Part.
            applies whether the loss results from:        d. Nuclear Hazard
            (a) An ordinance or law that is enforced          Nuclear reaction or radiation, Or
                 even if the property has not been            radioactive contamination,         however
                 damaged; or                                  caused.
            (b) The increased costs incurred to               But if nuclear reaction or radiation, or
                 comply with an ordinance or law in           radioactive contamination, results in fire,
                 the course of construction, repair,          we will pay for the loss or damage
                 renovation, remodeling or demolition         caused by that fire.
                 of property, or removal of its debris,
                                                          e. Utility Services



MSP 00 04 02 13                                                                              Page 4 of 7
                                                                                                                 Electronically Filed - City of St. Louis - November 08, 2021 - 04:23 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 96 of 115 PageID #: 103




           The failure of power, communication,                       (a) Foundations, walls, floors Or
           water or other utility service supplied to                      paved surfaces;
           the described premises, however                            (b) Basements, whether paved Or
           caused, if the failure:                                         not; or
           (1) Originates away from the described                     (c) Doors,     windows      or other
                premises; or                                               openings.
           (2) Originates       at   the     described           But if Water, as described in g.(1)
                premises, but only if such failure               through g.(4) above, results in fire,
                involves equipment used to supply                explosion or sprinkler leakage, we will
               the utility service to the described              pay for the loss or damage caused by
                premises from a source away from                 that fire, explosion or sprinkler leakage.
               the described premises.
                                                              h. "Fungus", Wet Rot, Dry Rot And
           Failure of any utility service includes               Bacteria
           lack of sufficient capacity and reduction
           in supply. Loss or damage caused by a                 Presence, growth, proliferation, spread
                                                                 or any activity of "fungus", wet or dry rot
          surge of power is also excluded, if the
                                                                 or bacteria.
          surge would not have occurred but for
          an event causing a failure of power.                   But if "fungus", wet or dry rot or bacteria
                                                                 results in a Covered Cause of Loss, we
           But if the failure or surge of power, or
                                                                 will pay for the loss or damage caused
          the failure of communication, water or
                                                                 by that Covered Cause of Loss.
          other utility service, results in a Covered
          Cause of Loss, we will pay for the loss                This exclusion does not apply:
          or damage caused by that Covered                       1. When "fungus", wet or dry rot or
          Cause of Loss.                                              bacteria results from fire or lightning;
          Communication services include but are                       Or
          not limited to service relating to Internet             2.   To the extent that coverage is
          access or access to any electronic,                          provided in the Additional Coverage
          cellular or satellite network.                               — Limited Coverage For "Fungus",
       f. War And Military Action                                      Wet Rot, Dry Rot And Bacteria with
                                                                       respect to loss or damage by a
          (1) War, including undeclared or civil
                                                                       cause of loss other than fire or
               war;
                                                                       lightning.
          (2) Warlike action by a military force,
                                                                  Exclusions 1.a. through 1.h. apply
               including action in hindering or
                                                                  whether or not the loss event results in
               defending against an actual or
                                                                  widespread damage or affects a
               expected        attack,      by     any
                                                                  substantial area.
               government, sovereign or other
               authority using military personnel or     2.   We will not pay for loss or damage caused
               other agents; or                               by or resulting from:
          (3) Insurrection, rebellion, revolution,            a. Artificially generated electrical, magnetic
               usurped power, or action taken by                  or      electromagnetic     energy      that
               governmental authority in hindering                damages, disturbs, disrupts or otherwise
               or defending against any of these.                 interferes with any:
       g. Water                                                   (1) Electrical or electronic wire, device,
                                                                       appliance, system or network; or
          (1) Flood, surface water, waves, tides,
               tidal waves, overflow of any body of               (2) Device,     appliance, system         or
               water, or their spray, all whether                      network utilizing cellular or satellite
               driven by wind or not;                                  technology.
          (2) Mudslide or mudflow;                                For the purpose of this exclusion,
                                                                  electrical, magnetic or electromagnetic
          (3) Water that backs up or overflows
               from a sewer, drain or sump; or                    energy includes but is not limited to:
          (4) Water under the ground surface                      (a) Electrical current, including arcing;
               pressing on, or flowing or seeping
               through:



MSP 00 04 02 13                                                                                  Page 5 of 7
                                                                                                                     Electronically Filed - City of St. Louis - November 08, 2021 - 04:23 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 97 of 115 PageID #: 104




           (b) Electrical charge produced Or                          from      fire -extinguishing   equipment
                conducted by a magnetic Or                            sinkhole collapse; volcanic action;
                electromagnetic field:                                breakage of building glass; falling
           (c) Pulse of electromagnetic energy; or                    objects: weight of snow, ice or sleet;
                                                                      water damage, meaning accidental
           (d) Electromagnetic           waves         Or
                                                                      discharge or leakage of water or steam
                microwaves.
                                                                      as the direct result of the breaking apart
           But if fire results, we will pay for the loss              or cracking of a plumbing, heating, air
           or damage caused by that fire.                             conditioning or other system or
        b. Explosion of steam boilers, steam pipes,                   appliance (other than a sump system
           steam engines or steam turbines owned                      including its related equipment and
           or leased by you, or operated under                        parts), that is located on the described
           your control.                                              premises and contains water or steam;
           But if explosion of steam boilers, steam                   all only as insured against in this
           pipes, steam engines or steam turbines                     Coverage Part;
           results in fire or combustion explosion,              b. Building decay that is hidden from view,
           we will pay for the loss or damage                         unless the presence of such decay is
           caused by that fire or combustion                          known to an insured prior to collapse;
           explosion.                                            c. Insect or vermin damage that is hidden
        c. Mechanical         breakdown,       including              from view, unless the presence of such
           rupture or bursting caused by centrifugal                  damage is known to an insured prior to
           force.                                                     collapse;
           But if mechanical breakdown results in a              d. Weight of people or personal property:
           Covered Cause of Loss, we will pay for                e. Weight of rain that collects on a roof;
           the loss or damage caused by that
                                                                 f. Use of defective material or methods in
           Covered Cause of Loss.
                                                                      construction, remodeling or renovation if
        d. Neglect of an insured to use all                           the abrupt collapse occurs during the
           reasonable means to save and preserve                      course of the construction, remodeling
           property from further damage at and                        or renovation.          However, if such
           after the time of loss.                                    collapse occurs after construction,
                                                                      remodeling or renovation is complete
SECTION V — ADDITIONAL COVERAGE —                                     and is caused in part by a cause of loss
COLLAPSE                                                              listed in 2.a. through 2.e., we will pay for
                                                                      the loss or damage even if use of
The coverage provided under this Additional                           defective material or methods, in
Coverage — Collapse applies only to an abrupt                         construction, remodeling or renovation,
collapse as described and limited in SECTION V 1.                     contributes to the collapse.
through 7.
                                                            This Additional Coverage — Collapse does not
   1.   For the purpose of this Additional Coverage         limit the coverage otherwise provided under this
        — Collapse, abrupt collapse means an                Causes of Loss Form for the causes of loss
        abrupt falling down or caving in of a building      listed in 2.a.
        or any part of a building with the result that      3. This Additional Coverage — Collapse does
        the building or part of the building cannot be           not apply to:
        occupied for its intended purpose.
                                                                 a. A building or any part of a building that
   2.   We will pay for direct physical loss or                       is in danger of falling down or caving in;
        damage to Covered Property, caused by
        abrupt collapse of a building or any part of a           b. A part of a building that is standing,
        building that is insured under this Coverage                  even if it has separated from another
        Form or that contains Covered Property                        part of the building; or
        insured under this Coverage Form, if such                c. A building that is standing or any part of
        collapse is caused by one or more of the                      a building that is standing, even if it
        following:                                                    shows evidence of cracking, bulging,
        a. Fire; lightning; explosion; windstorm or                   sagging, bending, leaning, settling,
             hail; smoke; aircraft or vehicles; riot or               shrinkage or expansion.
             civil commotion; vandalism; leakage            4. With respect to the following property:



MSP 00 04 02 13                                                                                      Page 6 of 7
                                                                                                                 Electronically Filed - City of St. Louis - November 08, 2021 - 04:23 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 98 of 115 PageID #: 105




        a.   Outdoor radio or television antennas         8.   The term Covered Cause of Loss includes
             (including satellite dishes) and their            the Additional Coverage — Collapse as
             lead-in wiring, masts or towers;                  described and limited in SECTION V 1.
        b. Awnings, gutters and downspouts,                    through 7.
        c. Yard fixtures;
                                                               SECTION VI —OTHER PROVISIONS
        d. Outdoor swimming pools;
        e. Fences;                                        1.   Inspection of Property and Operations:
       f. Piers, wharves and docks;                            This Company and any person or
                                                               organization making inspections on the
       g. Beach or diving platforms or                         Company's benefit shall be permitted but not
             appurtenances;
                                                               obligated to inspect the mortgagor's property
        h. Retaining walls; and                                and operations at any time. Neither the right
        I. Walks, roadways and other paved                     of this Company and any person or
             surfaces,                                         organization to make such inspections not
       if an abrupt collapse is caused by a cause of           the making thereof nor any report thereon
       loss listed in 2.b. through 2.1. we will pay for        shall constitute an undertaking, on behalf of
       loss or damage to that property only if:                or for the benefit of the named insured or
                                                               others, to determine or warrant that such
            (1) Such loss or damage is a direct
                                                               property or operations are safe or healthful,
                  result of the abrupt collapse of a
                                                               or are in compliance with any law, rule or
                  building    insured    under     this        regulations.
                  Coverage Form; and
            (2) The property is Covered Property          2.   Permits and Use: Except as otherwise
                 under this Coverage Form.                     provided, permission is granted:
   5. If personal property abruptly falls down or              a. to make additions, alterations and
       caves in and such collapse is not the result                repairs. This Policy insofar as it covers
       of abrupt collapse of a building, we will pay               building(s) or structure(s), is extended to
       for loss or damage to Covered Property                      cover additions, alterations and repairs,
       caused by such collapse of personal                         when not otherwise covered by
       property only if:                                           insurance,        including      temporary
                                                                   structures constructed on site, materials,
       a. The collapse of personal property was                    equipment and supplies therefore on or
            caused by a cause of loss listed in 2.a.               within 100 feet of the described
            through 2.f. above;                                    premises, and this Policy, insofar as it
       b. The personal property which collapses                    covers contents, is extended to cover
            is inside a building; and                              such additions.
      c. The property which collapses is not of a              b. for such unoccupancy as is usual or
            kind listed in 4. regardless of whether                incidental to described occupancy.
            that kind of property is considered to be              "Unoccupied" or "Unoccupancy" means
            personal property or real property.                    containing     contents     pertaining   to
      The coverage stated in this Paragraph 5.                     occupancy of the building while
      does not apply to personal property if                       operations or other customary activities
      marring and/or scratching is the only                        are suspended.
      damage to that personal property caused by          3.   Protective Safeguards: It is a condition of
      the collapse.                                            this insurance that you and the mortgagor
   6. This Additional Coverage — Collapse does                 shall maintain so far as is within your or the
      not apply to personal property that has not              mortgagor's      control    such     protective
      abruptly fallen down or caved in, even if the            safeguards as are set forth by endorsement
      personal property shows evidence of                      hereto.
      cracking, bulging, sagging, bending, leaning,            Failure to maintain such protective
      settling, shrinkage or expansion.                        safeguards shall suspend this insurance,
   7. This Additional Coverage — Collapse will not             only as respects the location or situation
      increase the Limits of Insurance provided in             affected,    for    the    time     of    such
      this Coverage Part.                                      discontinuance.




MSP 00 04 02 13                                                                                  Page 7 of 7
                                                                                                                  Electronically Filed - City of St. Louis - November 08, 2021 - 04:23 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 99 of 115 PageID #: 106



                                                                                       MORTGAGE SECURITY
                                                                                            MSP 03 02 02 13

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                           WIND, HAIL AND HURRICANE
                           DEDUCTIBLE ENDORSEMENT

In consideration of the basis on which this policy has been issued and premiums collected, it is agreed between
the named insured and the Company that the deductible provision of the Blanket Mortgage Security Policy is:

   A minimum deductible of 2% of the property limit, or the deductible shown on the declarations page,
   whichever is greater, shall apply to each occurrence caused by the perils of wind, hail and hurricane.


ALL OTHER TERMS AND CONDITIONS OF THE POLICY REMAIN UNCHANGED




MSP 03 02 02 13                                                                                     Page 1 of 1
                                                                                                                   Electronically Filed - City of St. Louis - November 08, 2021 - 04:23 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 100 of 115 PageID #: 107



                                                                                     MORTGAGE SECURITY
                                                                                          MSP 04 01 02 13

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

          BUSINESS PERSONAL PROPERTY ENDORSEMENT

In consideration of additional premiums collected,        PROPERTY NOT COVERED
coverage is extended for Business Personal
Property in which you as Named Insured have an            Covered Property does not include:
insurable interest as lienholder or loss payee or
                                                             a. Accounts, bills, currency, food stamps or
owner as the result of a default on a loan or note.
                                                                other evidences of debt, money, notes or
                                                                securities. Lottery tickets held for sale are
Your Business Personal Property located in or on
                                                                not securities;
the building described in the Declarations or in the
open (or in a vehicle) within 100 feet of the                b. Animals, unless owned by others and
described premises, consisting of the following                 boarded by you, or if owned by you, only as
unless otherwise specified:                                     "stock" while inside of buildings:
    (1)Furniture and fixtures;                               c. Automobiles held for sale;
                                                             d. Bridges, roadways, walks, patios or other
    (2)Machinery and equipment;
                                                                paved surfaces;
    (3)"Stock";
                                                             e. Contraband, or property in the course of
    (4)All other personal property owned by you                 illegal transportation or trade;
       and used in your business;
                                                             f. The    cost of excavations, grading, backfilling
   (5) Labor, materials or services furnished or                or filling;
       arranged by you on personal property of
       others;                                               g. Foundations of buildings, structures,
                                                                machinery or boilers if their foundations are
   (6) Your use interest as tenant in improvements              below:
       and betterments.            Improvements and
                                                                (1) The lowest basement floor, or
       betterments        are   fixtures,  alterations,
       installations or additions:                              (2) The surface of the ground, if there is no
                                                                      basement;
       (a) Made a part of the building or structure
           you occupy but do not own; and                    h. Land (including land on which the property is
                                                                located), water, growing crops or lawns;
       (b) You acquired or made at your expense
           but cannot legally remove:                        i. Personal property while airborne or
                                                                waterborne;
   (7) Leased personal property for which you
       have a contractual responsibility to insure,          J. Bulkheads, pilings, piers, wharves or docks;
       unless otherwise provided for under                   k. Property that is covered under another
       Personal Property Of Others.                             coverage form of this or any other policy in
       (a) Personal Property Of Others that is:                 which it is more specifically described,
           (1) In your care, custody or control: and            except for the excess of the amount due
                                                                (whether you can collect on it or not) from
           (2) Located in or on the building                    that other insurance;
                 described in the Declarations or in
                                                             I. Retaining walls that are not part of a
                 the open (or in a vehicle) within 100
                                                                building;
                 feet of the described premises.
                                                             m. Underground pipes, flues or drains:
However, our payment for loss of or damage to                n. Electronic data, except as provided under
personal property of others will only be for the                the Additional Coverage, Electronic Data.
account of the owner of the property.                           Electronic data means information, facts or
                                                                computer programs stored as or on. created
                                                                or used on, or transmitted to or from
                                                                computer software (including systems and
                                                                applications software), on hard or floppy



MSP 04 01 02 13                                                                                    Page 1 of 2
                                                                                                                     Electronically Filed - City of St. Louis - November 08, 2021 - 04:23 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 101 of 115 PageID #: 108




      disks, CD-ROMs, tapes, drives, cells, data         Business Personal Property coverage is valued on
      processing devices or any other repositories       an actual cash value basis except as stated in
      of computer software which are used with           Exception. The limit of liability for this coverage shall
      electronically controlled equipment.        The    be specifically reported to the Company but, in no
      term computer programs, referred to in the         event exceed the limit of liability shown on the
      foregoing description of electronic data,          Declarations.
      means a set of related electronic instructions
      which direct the operations and functions of       The coverage provided by this endorsement shall in
      a computer or device connected to it, which        no way increase the policy's limit of liability as stated
      enable the computer or device to receive,          in the Amount of Insurance shown in the
      process, store, retrieve or send data. This        Declarations, of the Mortgage Security Policy.
      paragraph, n., does not apply to your "stock"
      of prepackaged software:                           Business Personal Property valuation exceptions:
   o. The cost to replace or restore the
      information on valuable papers and records,        A. Finished "stock" or inventory and sold business
      including those which exist as electronic             property completed and awaiting delivery are
      data. Valuable papers and records include             valued based on your selling price less the value
      but are not limited to proprietary information,       of discounts and expenses you would have had.
      books of account, deeds, manuscripts,
      abstracts, drawings and card index systems.        B. Accounts receivable, valuable papers and
      Refer to the Coverage Extension for                   records, negatives, transparencies, tapes, and
      Valuable Papers And Records (Other Than               prints are valued based on the cost of blank
      Electronic Data) for limited coverage for             materials, including electronic data processing
      valuable papers and records other than                media but, not prepackaged software programs.
      those which exist as electronic data;
                                                         C. Gold, Gold Salts, and other precious metals are
   P. Vehicles     or     self-propelled     machines
                                                            valued at the market cost for replacement as
      (including aircraft or watercraft) that:
                                                            published by American Metals Market, during a
      (1) Are licensed for use on public roads; or          period of 10 (ten) working days immediately
      (2) Are operated principally away from the            following the date of loss, or the actual sum you
           described premises.                              pay for replacement, which is lower.
        This paragraph does not apply to:
                                                         The deductible for Business Personal Property shall
             (a) Vehicles or self-propelled machines     apply separately from deductibles provided by other
                  or autos you manufacture, process      coverages under this policy.
                  or warehouse;
             (b) Vehicles or self-propelled machines,    Perils insured against for Business Personal
                  other than autos, you hold for sale:   Property shall be those detailed on form MSP 00 04.
             (c) Rowboats or canoes out of water at
                  the described premises; or             Automatic coverage does not apply to collateral
                                                         insured under this endorsement.
             (d) Trailers, but only to the extent
                  provided for in the Coverage
                  Extension for Non -owned Detached      ALL OTHER TERMS AND CONDITIONS OF THE
                  Trailers;                              POLICY REMAIN UNCHANGED
   q.   The following property while outside of
        buildings:
        (1) Grain, hay, straw or other crops;
        (2) Fences, radio or television antennas
             (including satellite dishes) and their
             lead-in wiring, masts or towers, trees,
             shrubs or plants (other than "stock" of
            trees, shrubs or plants), all except as
             provided in the Coverage Extensions.




MSP 04 01 02 13                                                                                      Page 2 of 2
                                                                                                                  Electronically Filed - City of St. Louis - November 08, 2021 - 04:23 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 102 of 115 PageID #: 109



                                                                                       MORTGAGE SECURITY
                                                                                            MSP 04 03 02 13

         THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                    PERSONAL PROPERTY ENDORSEMENT

In consideration of the basis upon which this policy        e.   Motor vehicles or all other motorized land
has been issued, it is agreed between the named                  conveyances.
insured and the Company that the following will
                                                                 (1) This includes:
apply to the Master Policy.
                                                                     (a) Their accessories, equipment and
                COVERED PROPERTY                                         parts; or
                                                                     (b) Any device or instrument for the
In consideration of additional premiums collected,                       transmitting, recording, receiving or
coverage is extended to include the personal                             reproduction of sound or pictures
property of the mortgagor when specifically                              which is operated by power from the
requested by the named insured.                                          electrical system of motor vehicles
                                                                         and all other motorized land
The coverage provided by this endorsement shall in                       conveyances, and its accessories.
no way increase the policy's limit of liability as stated                Accessories     include    antennas,
in the Amount of Insurance shown in the                                  tapes, wires, records, discs or other
Declarations, of the Blanket Mortgage Security                           media that can be used with any
Policy.                                                                  device or instrument described
                                                                         above.
The personal property covered must be usual to the
occupancy of the mortgaged property as a                             The exclusion of property described in
residence. The coverage pertains only to personal                    (a) and (b) above applies only while
property located at the mortgaged property                           such property is in or upon the vehicle
residence at the time of loss.                                       or conveyance.
                                                                 (2) We do cover motor vehicles or other
             PROPERTY NOT COVERED                                    motorized    land    conveyances      not
                                                                     required to be registered for use on
    a.    Accounts, bank notes, bills, bullion, coins,               public roads or property which are:
          currency, deeds, evidences of debt, gold
          other than goldware, letters of credit,                    (a) Used solely to service the Described
          manuscripts, medals, money, notes other                        Location; or
          than bank notes, passports, personal                       (b) Designed to assist the handicapped;
          records, platinum other than platinumware,        f.   Watercraft of all types, other than rowboats
          securities, silver other than silverware,              and canoes;
          tickets, stamps, scrip, stored value cards
          and smart cards;                                  g.   Data, including data stored in:
    b. Animals, birds or fish;                                   (1) Books of account, drawings or other
                                                                     paper records; or
    c.    Aircraft meaning any contrivance used or
          designed for flight including any parts                (2) Computers and related equipment:
          whether or not attached to the aircraft.               We do cover the cost of blank recording or
          We do cover model or hobby aircraft not                storage media, and of prerecorded computer
          used or designed to carry people or cargo;             programs available on the retail market;

    d.    Hovercraft and parts. Hovercraft means a          h.   Credit cards, electronic fund transfer cards
          self-propelled motorized ground effect                 or access devices used solely for deposit,
          vehicle and includes, but is not limited to,           withdrawal or transfer of funds;
          flarecraft and air cushion vehicles:              I.   Water or steam, or
                                                                 Gravemarkers,        including    mausoleums.



MSP 04 03 02 13                                                                                     Page 1 of 2
                                                                                       Electronically Filed - City of St. Louis - November 08, 2021 - 04:23 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 103 of 115 PageID #: 110




        (1) Valuable papers, currency, gold, silver,
            and notes.
        (2) Animals, birds, or fish.
        (3) Aircraft and parts.
        (4) Motor vehicles, other than motorized
            equipment used to service residence.
        (5) Boats, other than rowboats and canoes.
        (6) Furs, fur garments, jewels, jewelry, and
            pearls.

Personal Property coverage is valued on an actual
cash basis at the time of loss but not exceeding the
amount necessary to repair or replace.

Automatic coverage does not apply to collateral
insured under this endorsement.

THIS COVERAGE PERTAINS TO RESIDENTIAL
PROPERTY ONLY

ALL OTHER TERMS AND CONDITIONS OF THE
POLICY REMAIN UNCHANGED.




MSP 04 03 02 13                                                          Page 2 of 2
                                                                                                                   Electronically Filed - City of St. Louis - November 08, 2021 - 04:23 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 104 of 115 PageID #: 111



                                                                                      MORTGAGE SECURITY
                                                                                           MSP 04 04 02 13

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                    SECOND MORTGAGE ENDORSEMENT
                                     (To be attached to Master Policy)


In consideration of the premium charged, it is hereby     The Company's liability for loss with respect to any
understood and agreed that this policy is extended        property covered hereunder shall not exceed the
to insure real property that is security for a second     limit of liability reflected on the declarations page.
mortgage or equity loan.
                                                              a.   The amount it would cost to repair or replace
                                                                   the property with material of like kind and
If there should be another policy in force insuring
                                                                   quality.
that real property, that policy would be primary and
this Company would pay only the excess over that              b. The outstanding balance of the second
paid by the primary carrier up to the amount                     mortgage or equity loan on the property.
reported to us - but the total of all insurance Primary
and Excess, is never to exceed 100% of the                In the absence of primary insurance, the deductible
Replacement Cost of the structure.                        will be S250.

Coverage as provided under this policy as it applies      All other policy terms and conditions shall remain in
to second mortgage and equity loans will follow the       full force and effect.     In witness whereof, the
settlements of the First Mortgage Insurer. The            company has caused this endorsement to be
Company shall not be liable for the interest of any       executed by a duly authorized representative.
mortgagee not named on the Policy.




MSP 04 04 02 13                                                                                     Page 1 of 1
                                                                                                                 Electronically Filed - City of St. Louis - November 08, 2021 - 04:23 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 105 of 115 PageID #: 112



                                                                                    MORTGAGE SECURITY
                                                                                         MSP 17 02 02 13

       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

              CONDOMINIUM COVERAGE ENDORSEMENT

For purposes of this endorsement only:                  Condition F. Other Insurance is replaced by:

Under COVERAGES Coverage A — Dwelling is                F.   Other Insurance - This policy is excess over all
revised by the addition of:                                  other insurance covering the condominium,
                                                             including any insurance purchased by or in the
     e) condominium. Condominium means a
        method of property ownership where there is          name of the association of property owners. If a
                                                             loss covered by this policy is also covered by
        a common ownership of certain portions of
                                                             other insurance, our liability is limited to the
        the premises and distinct ownership of
                                                             amount of covered loss or damage in excess of
        individual condominium or cooperative
        apartment units ("units").                           the amount due from that other insurance,
                                                             whether you can collect it or not. If there is no
We cover your unit and:                                      other insurance covering the condominium in
                                                             which each unit owner has an undivided
         1. permanent alterations, fixtures and              interest, including any insurance purchased by
            improvements contained within your               or in the name of the association of property
            unit:                                            owners, our liability shall be limited to the
         2. property which is part of your unit and          proportion that the value of your unit bears to
            which is your responsibility to maintain         the total value of the condominium.
            insurance under a corporate declaration
            or an association of property owners
            agreement;                                  ALL OTHER TERMS AND CONDITIONS OF THE
                                                        POLICY REMAIN UNCHANGED
         3. structures at the described location
            other than the condominium, provided
            you have a mortgagee interest in such
            structure and it is not used for
            commercial purposes.

The following is added to Other Coverages;

A.   Loss Assessments - We will pay up to $5,000
     for your share of any assessment charged to all
     unit owners by the corporation or association of
     property owners when such assessment is
     made due to loss or damage by an insured peril
     to property owned by all unit owners
     collectively. But we will not pay more than
     S1,000 per unit for an assessment that results
     from a deductible in the insurance purchased by
     the corporation or association of property
     owners.




MSP 17 02 02 13                                                                                   Page 1 of 1
                                                                                                                 Electronically Filed - City of St. Louis - November 08, 2021 - 04:23 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 106 of 115 PageID #: 113



                                                                                     MORTGAGE SECURITY
                                                                                          MSP 99 04 02 13

      THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

REPORTING OF MULTI -BUILDING PROPERTY COVERAGE

It is hereby agreed that the following procedure shall    In this endorsement, a separate building" is defined
be used to report multi -building properties under this   as a standalone building.
policy:
                                                          If separate dwellings are not scheduled at the time
In the event that more than one separate                  coverage is placed, the limit of any one separate
building/dwelling at a location is to be covered under    dwelling shall be pro -rata portion of the actual
this policy, it shall be the insured's responsibility,    amount of coverage requested at the property
prior to placing coverage, to specifically schedule       location based on replacement cost value (RCV)
each separate building/dwelling, including the            and calculated as follows:
separate address or building number, and to provide
the amount of insurance desired for each individual           (RCV of separate dwelling / RCV of all
separate building/dwelling. (but not to exceed the            dwellings) X
policy limit)                                                 Actual amount of coverage at the property
                                                              location
Premium shall be charged for each individual
separate building/dwelling reported.                      For the purposes of this endorsement, separate
                                                          dwelling shall be defined as a standalone dwelling.
If separate buildings are not scheduled at the time
coverage is placed, the limit of any one separate         All other terms and conditions of this policy shall
building shall be pro -rata portion of the actual         remain in full force and effect.
amount of coverage requested at the property
location based on Actual Cash Value (ACV) and             In witness whereof, the Company has caused this
calculated as follows:                                    endorsement to be executed by a duly authorized
                                                          representative.
   (ACV of separate building / ACV of all Buildings)
   X
   Actual amount of coverage at the property
   location




MSP 99 04 02 13                                                                                   Page 1 of 1
                                                                                                                        Electronically Filed - City of St. Louis - November 08, 2021 - 04:23 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 107 of 115 PageID #: 114




                            COMMON POLICY CONDITIONS
All Coverage Parts included in this policy are subject to the following conditions.

A. Cancellation                                                     b. Give you reports on the conditions we find;
   1. The first Named Insured shown in the Declara-                     and
      tions may cancel this policy by mailing or de-                 c. Recommend changes.
      livering to us advance written notice of cancel-           2. We are not obligated to make any inspections,
      lation.                                                       surveys, reports or recommendations and any
   2. We may cancel this policy by mailing or deliv-                such actions we do undertake relate only to in-
      ering to the first Named Insured written notice               surability and the premiums to be charged. We
      of cancellation at least:                                     do not make safety inspections. We do not un-
      a. 10 days before the effective date of cancel-               dertake to perform the duty of any person or
           lation if we cancel for nonpayment of pre-               organization to provide for the health or safety
           mium; or                                                 of workers or the public. And we do not warrant
                                                                    that conditions:
      b. 30 days before the effective date of cancel-
           lation if we cancel for any other reason.                a. Are safe or healthful; or
   3. We will mail or deliver our notice to the first               b. Comply with laws, regulations, codes or
      Named Insured's last mailing address known to                     standards.
       US.                                                       3. Paragraphs 1. and 2. of this condition apply
    4. Notice of cancellation will state the effective              not only to us, but also to any rating, advisory,
       date of cancellation. The policy period will end             rate service or similar organization which
       on that date.                                                makes insurance inspections, surveys, reports
                                                                    or recommendations.
    5. If this policy is cancelled, we will send the first
       Named Insured any premium refund due. If we              4. Paragraph 2. of this condition does not apply
       cancel, the refund will be pro rata. If the first            to any inspections, surveys, reports or recom-
       Named Insured cancels, the refund may be                     mendations we may make relative to certifica-
       less than pro rata. The cancellation will be ef-             tion, under state or municipal statutes, ordi-
       fective even if we have not made or offered a                nances or regulations, of boilers, pressure ves-
       refund.                                                      sels or elevators.
   6. If notice is mailed, proof of mailing will be suf-     E. Premiums
       ficient proof of notice.                                 The first Named Insured shown in the Declara-
B. Changes                                                      tions:
   This policy contains all the agreements between              1. Is responsible for the payment of all premiums:
   you and us concerning the insurance afforded.                    and
   The first Named Insured shown in the Declara-                2. Will be the payee for any return premiums we
   tions is authorized to make changes in the terms                 pay.
   of this policy with our consent. This policy's terms      F. Transfer Of Your Rights And Duties Under
   can be amended or waived only by endorsement                 This Policy
   issued by us and made a part of this policy.
                                                                Your rights and duties under this policy may not
C. Examination Of Your Books And Records                        be transferred without our written consent except
   We may examine and audit your books and rec-                 in the case of death of an individual named in-
   ords as they relate to this policy at any time during        sured.
   the policy period and up to three years afterward.           If you die, your rights and duties will be trans-
D. Inspections And Surveys                                      ferred to your legal representative but only while
   1. We have the right to:                                     acting within the scope of duties as your legal rep-
                                                                resentative. Until your legal representative is ap-
       a. Make inspections and surveys at any time;             pointed, anyone having proper temporary custody
                                                                of your property will have your rights and duties
                                                                but only with respect to that property.




IL 00 17                          Copyright, Insurance Services Office, Inc., 1998                      Page 1 of 1
                                                                                                          Electronically Filed - City of St. Louis - November 08, 2021 - 04:23 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 108 of 115 PageID #: 115




            THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                   EXCLUSION OF CERTIFIED ACTS OF TERRORISM

This endorsement modifies insurance provided under the following:
      BLANKET MORTGAGE SECURITY POLICY
      DWELLING PROPERTY 3A AMENDED FORM
      GENERAL PROPERTY AMENDED FORM
      MORTGAGE SECURITY POLICY


                         State(s)                           Coverage Form, Coverage Part Or Policy




     Information required to complete this Schedule, if not shown above, will be shown in the
     Declarations.

Information required to complete this Schedule, if not shown above, will be shown on the
Declarations.
A.    The following definition is added with respect to the provisions of this endorsement:
      "Certified act of terrorism" means an act that is certified by the Secretary of the Treasury, in
      accordance with the provisions of the federal Terrorism Risk Insurance Act, to be an act of
      terrorism pursuant to the federal Terrorism Risk Insurance Act. The criteria contained in the
      Terrorism [Risk Insurance Act for a "certified act of terrorism" include the following:
      1.   The act resulted in insured losses in excess of $5 million in the aggregate, attributable
           to all types of insurance subject to the Terrorism Risk Insurance Act; and
      2.   The act is a violent act or an act that is dangerous to human life, property or
           infrastructure and is committed by an individual or individuals as part of an effort to
           coerce the civilian population of the United States or to influence the policy or affect the
           conduct of the United States Government by coercion.
B.    The following exclusion is added:
      CERTIFIED ACT OF TERRORISM          acLusioN
      We will not pay for loss or damage caused directly or indirectly by a "certified act of
      terrorism". Such loss or damage is excluded regardless of any other cause or event that
      contributes concurrently or in any sequence to the loss.
C.    Exception Covering Certain Fire Losses
      The following exception to the exclusion in Paragraph B. applies only if indicated and as
      indicated in the Schedule of this endorsement.

          Includes copyrighted material of Insurance Services Office, Inc., with its permission.
                          Copyright, Insurance Services Office, Inc., 2015
 IL 09 53                                                                               Page 1 of 2
                                                                                                       Electronically Filed - City of St. Louis - November 08, 2021 - 04:23 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 109 of 115 PageID #: 116




     If a "certified act of terrorism" results in fire, we will pay for the loss or damage caused by
     that fire. Such coverage for fire applies only to direct loss or damage by fire to Covered
     Property. Therefore, for example, the coverage does not apply to insurance provided under
     Business Income and/or Extra Expense coverage forms or endorsements which apply to
     those forms, or to the Legal Liability Coverage Form or the Leasehold Interest Coverage
     Form.
     If aggregate insured losses attributable to terrorist acts certified under the Terrorism Risk
     Insurance Act exceed $100 billion in a calendar year and we have met our insurer deductible
     under the Terrorism Risk Insurance Act, we shall not be liable for the payment of any portion
     of the amount of such losses that exceeds $100 billion, and in such case insured losses up
     to that amount are sui*ct to pro rata allocation in accordance with procedures established
     by the Secretary of the -Treasury.
D.   Application Of Other Exclusions
     The terms and limitations of any terrorism exclusion, or the inapplicability or omission of a
     terrorism exclusion, do not serve to create coverage for any loss which would otherwise be
     excluded under this Coverage Part or Policy, such as losses excluded by the Nuclear Hazard
     Exclusion or the War And Military Action Exclusion.




        Includes copyrighted material of Insurance Services Office, Inc., with its permission.
                        Copyright, Insurance Services Office. Inc., 2015
 IL 09 53                                                                             Page 2 of 2
                                                                                                             Electronically Filed - City of St. Louis - November 08, 2021 - 04:23 PM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 110 of 115 PageID #: 117



                                                                                  MORTGAGE SECURITY
                                                                                       MSP 09 01 02 13

     THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

                      POLICY EXECUTION ENDORSEMENT

The Company has caused this policy to be signed by the President and Secretary. It is countersigned on the
Declarations Page by our authorized representative(s) if required.




                  -
      942f51‘R-aTh-



                  Secretary                                                   President




MSP 09 01 02 13                                                                                Page 1 of 1
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 111 of 115 PageID #: 118
        Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 112 of 115 PageID #: 119
           IN THE 22ND JUDICIAL CIRCUIT, CITY OF ST LOUIS, MISSOURI

Judge or Division:                                              Case Number: 2122-CC09577
MICHAEL FRANCIS STELZER
Plaintiff/Petitioner:                                           Plaintiff’s/Petitioner’s Attorney/Address
 NEIGHBORS CREDIT UNION                                         JAMES GERARD NOWOGROCKI
                                                                8909 LADUE RD
                                                          vs.   ST. LOUIS, MO 63124
Defendant/Respondent:                                           Court Address:
INTEGON NATIONAL INSURANCE                                      CIVIL COURTS BUILDING
COMPANY                                                         10 N TUCKER BLVD
Nature of Suit:                                                 SAINT LOUIS, MO 63101
CC Breach of Contract                                                                                                        (Date File Stamp)

                                                      Summons in Civil Case
  The State of Missouri to: INTEGON NATIONAL INSURANCE COMPANY
                            Alias:
 C/O DIRECTOR OF INSURANCE                                                                         COLE COUNTY, MO
 301 WEST HIGH ST, SUITE 530
 JEFFERSON CITY, MO 65101
      COURT SEAL OF                You are summoned to appear before this court and to file your pleading to the petition, a
                                   copy of which is attached, and to serve a copy of your pleading upon the attorney for
                                   plaintiff/petitioner at the above address all within 30 days after receiving this summons,
                                   exclusive of the day of service. If you fail to file your pleading, judgment by default may
                                   be taken against you for the relief demanded in the petition.

      CITY OF ST LOUIS              November 10, 2021
                                     ________________________                      ______________________________________________________
                                             Date                                                        Clerk
                                   Further Information:
                                                           Sheriff’s or Server’s Return
     Note to serving officer: Summons should be returned to the court within 30 days after the date of issue.
     I certify that I have served the above summons by: (check one)
         delivering a copy of the summons and a copy of the petition to the defendant/respondent.
         leaving a copy of the summons and a copy of the petition at the dwelling place or usual abode of the defendant/respondent with
           _________________________________________________, a person of the defendant’s/respondent’s family over the age of
           15 years who permanently resides with the defendant/respondent.
         (for service on a corporation) delivering a copy of the summons and a copy of the complaint to:
         _____________________________________________ (name) ____________________________________________ (title).
         other: ______________________________________________________________________________________________.

     Served at _______________________________________________________________________________________ (address)
     in _____________________________ (County/City of St. Louis), MO, on _____________________ (date) at ___________ (time).

     _______________________________________________                             _________________________________________________
                    Printed Name of Sheriff or Server                                              Signature of Sheriff or Server
                                Must be sworn before a notary public if not served by an authorized officer:
                                 Subscribed and sworn to before me on _______________________________ (date).
           (Seal)
                                 My commission expires: __________________                   ________________________________________
                                                                       Date                                     Notary Public
  Sheriff’s Fees, if applicable
  Summons                       $
  Non Est                       $
  Sheriff’s Deputy Salary
  Supplemental Surcharge        $   10.00
  Mileage                       $                  (______ miles @ $.______ per mile)
  Total                         $
  A copy of the summons and a copy of the petition must be served on each defendant/respondent. For methods of service on all
  classes of suits, see Supreme Court Rule 54.



OSCA (06-18) SM30 (SMCC) For Court Use Only: Document Id # 21-SMCC-14161            1 of 1             Civil Procedure Form No. 1; Rules 54.01 – 54.05,
                                                                                               54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
                                                                                                     Electronically Filed - City of St. Louis - November 19, 2021 - 10:02 AM
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 113 of 115 PageID #: 120




                      IN THE CIRCUIT COURT OF THE CITY OF ST. LOUIS
                                   STATE OF MISSOURI

 NEIGHBORS CREDIT UNION,                     )
                                             )
         Plaintiff,                          )         Case No. 2122-CC09577
                                             )
 vs.                                         )         Division 1
                                             )
 INTEGON NATIONAL INSURANCE                  )
 COMPANY,                                    )
                                             )
         Defendant.                          )

                                  ENTRY OF APPEARANCE

         COMES NOW Stephen C. Hiotis, of the law firm Summers Compton Wells LLC, and

 hereby enters his appearance on behalf of Plaintiff Neighbors Credit Union.


                                             Respectfully Submitted,

                                             SUMMERS COMPTON WELLS LLC

                                              /s/ Stephen C. Hiotis
                                             STEPHEN C. HIOTIS #30840
                                             903 S. Lindbergh Blvd., Suite 200
                                             St. Louis, Missouri 63131
                                             (314) 991-4999 (Telephone)
                                             (314) 991-2413 (Facsimile)
                                             shiotis@summerscomptonwells.com
                                             Attorneys for Plaintiff



                                  CERTIFICATE OF SERVICE

         I hereby certify that on November 19, 2021, I electronically filed the foregoing document
 with the Clerk of the Court through the Court’s electronic efiling system, CM/ECF, for service on
 all counsel of record.


                                                 /s/ Stephen C. Hiotis

 2,788,369


                                                  1
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 114 of 115 PageID #: 121
Case: 4:21-cv-01477-RWS Doc. #: 1-3 Filed: 12/16/21 Page: 115 of 115 PageID #: 122
